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             UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA

In re:                                                   )   CASE NO.: 15-10525-ABL
                                                         )
Wishing Well Property Investments, LLC, Series 1,        )   Chapter 11
                                                         )
                         Debtor.                         )   Hearing Date: December 3, 2015April 7, 2016
                                                         )   Hearing Time: 9:30 a.m. 3:00 p.m.
                                                         )    
_____________________________________________            )

           SECOND THIRD AMENDED PLAN OF REORGANIZATION FOR
            WISHING WELL PROPERTY INVESTMENTS, LLC, SERIES 1
         UNDER CHAPTER 11 OF THE UNITED STATES BANKRUPTCY CODE
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     SECOND THIRD AMENDED PLAN OF REORGANIZATION OF WISHING WELL PROPERTY
                           INVESTMENTS, LLC, SERIES 1
                    UNDER CHAPTER 11 OF THE BANKRUPTCY CODE



          Wishing Well Property Investments, LLC, Series 1, a Nevada limited liability company, as debtor and
debtor in possession (“Wishing Well” or the “Debtor”), proposes the following plan of reorganization (the “Plan”)
for the resolution of the outstanding claims against, and equity interests in, the Debtor. The Debtor is the proponent
of the Plan within the meaning of section 1129 of the Bankruptcy Code (as defined below). Reference is made to
the Debtor’s Disclosure Statement, for a discussion of the Debtor’s history, business, results of operations, historical
financial information, accomplishments during the Chapter 11 Case (as defined below), projections and properties,
and for a summary and analysis of this Plan and the treatment provided for herein. There also are other agreements
and documents, which are or will be filed with the Bankruptcy Court, that are referenced in this Plan or the
Disclosure Statement.

                                                 ARTICLE I.

                        RULES OF INTERPRETATION, COMPUTATION OF TIME,
                              GOVERNING LAW AND DEFINED TERMS

A.       Rules of Interpretation, Computation of Time and Governing Law

          1. For purposes herein: (a) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine or neuter gender
shall include the masculine, feminine and the neuter gender; (b) any reference herein to a contract, lease, instrument,
release, indenture or other agreement or document being in a particular form or on particular terms and conditions
means that the referenced document shall be substantially in that form or substantially on those terms and
conditions; (c) any reference herein to an existing document or exhibit having been Filed or to be Filed shall mean
that document or exhibit, as it may thereafter be amended, modified or supplemented; (d) unless otherwise specified,
all references herein to “Articles” are references to Articles hereof or hereto; (e) unless otherwise stated, the words
‘‘herein,’’ “hereof” and ‘‘hereto’’ refer to the Plan in its entirety rather than to a particular portion of the Plan;
(f) captions and headings to Articles are inserted for convenience of reference only and are not intended to be a part
of or to affect the interpretation hereof; (g) the rules of construction set forth in section 102 of the Bankruptcy Code
shall apply; and (h) any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules, as the case may be.

        2. The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of time prescribed or
allowed herein.




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B.       Defined Terms

         Unless the context otherwise requires, the following terms shall have the following meanings when used in
capitalized form herein:

          1.      “Accrued Professional Compensation” means, at any given moment, all accrued, contingent
and/or unpaid fees and expenses (including, without limitation, success fees and Allowed Professional
Compensation) for legal, financial advisory, accounting and other services and reimbursement of expenses that are
awardable and allowable under sections 328, 330(a) or 331 of the Bankruptcy Code or otherwise rendered allowable
prior to the Confirmation Date by any Retained Professionals in the Chapter 11 Case, that the Bankruptcy Court has
not denied by a Final Order, to the extent that any such fees and expenses have not been previously paid regardless
of whether a fee application has been Filed for any such amount.

         2.       “Administrative Claim” means any Claim for costs and expenses of administration of the Estate
under sections 503(b), 507(b) or 1114(e)(2) of the Bankruptcy Code (excluding claims under section 503(b)(9) of
the Bankruptcy Code), including, without limitation: (a) the actual and necessary costs and expenses incurred after
the Commencement Date of preserving the Estate and operating the business of the Debtor; (b) Allowed
Professional Compensation; and (c) all fees and charges assessed against the Estates under chapter 123 of title 28 of
the United States Code, 28 U.S.C. §§ 1911-1930.

         3.       “Affiliate” has the meaning set forth at section 101(2) of the Bankruptcy Code.

          4.       “Allowed” means, with respect to Claims or Equity Interests: (a) any Claim or Equity Interest,,
proof of which is timely Filed by the applicable Claims Bar Date (or which by the Bankruptcy Code or Final Order
is not or shall not be required to be Filed); (b) any Claim or Equity Interest that is listed in the Schedules as of the
Effective Date as not contingent, not unliquidated and not Disputed, and for which no Proof of Claim or Interest has
been timely Filed; or (c) any Claim or Equity Interest Allowed pursuant to the Plan; provided, however, that with
respect to any Claim or Equity Interest described in clause (a) above, such Claim or Equity Interest shall be
considered Allowed only if and to the extent that (x) with respect to any Claim or Equity Interest, no objection to the
allowance thereof has been interposed within the applicable period of time fixed by the Plan, the Bankruptcy Code,
the Bankruptcy Rules or the Bankruptcy Court, or (y) such an objection is so interposed and the Claim or Equity
Interest shall have been Allowed for distribution purposes only by a Final Order. Any Claim that has been or is
hereafter listed in the Schedules as contingent, unliquidated or disputed, and for which no Proof of Claim has been
timely Filed, is not considered Allowed and shall be expunged without further action by the Debtor or the
Reorganized Debtor and without any further notice to or action, order or approval of the Bankruptcy Court.

        5.       “Allowed Professional Compensation” means all Accrued Professional Compensation allowed or
awarded by a Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

         6.        “Assets” means all of the Debtor’s right, title and interest of any nature in property, wherever
located, as specified in section 541 of the Bankruptcy Code.

         7.       “Avoidance Actions” means any and all claims and causes of action which any of the Debtor, the
debtors in possession, the Estate, or other appropriate party in interest has asserted or may assert under sections 502,
510, 542, 544, 545, or 547 through 553 of the Bankruptcy Code or under similar or related state or federal statutes
and common law, including fraudulent transfer laws.

         8.       “Ballots” means the ballots accompanying the Disclosure Statement upon which certain Holders
of Impaired Claims (modified, as necessary, based on voting party in accordance with the Disclosure Statement
Order) entitled to vote shall, among other things, indicate their acceptance or rejection of the Plan in accordance
with the Plan and the procedures governing the solicitation process, and which must be actually received on or
before the Voting Deadline.

         9.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
applicable to the Chapter 11 Case, and to the extent of the withdrawal of any reference under section 157 of Title 28


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of the United States Code and/or the Order of the United States District Court for the District of Nevada pursuant to
section 157(a) of Title 28 of the United States Code, the United States District Court for the District of Nevada.

          10.      “Bankruptcy Court” means the United States Bankruptcy Court for the District of Nevada, having
jurisdiction over the Chapter 11 Case.

        11.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as applicable to the
Chapter 11 Case, promulgated under 28 U.S.C. § 2075 and the general, local and chambers rules of the Bankruptcy
Court.

        12.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” (as defined in
Bankruptcy Rule 9006(a)).

         13.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

           14.      “Causes of Action” means all actions, causes of action (including Avoidance Actions), Claims,
liabilities, obligations, rights, suits, debts, damages, judgments, remedies, demands, setoffs, defenses, recoupments,
crossclaims, counterclaims, third-party claims, indemnity claims, contribution claims or any other claims disputed or
undisputed, suspected or unsuspected, foreseen or unforeseen, direct or indirect, choate or inchoate, existing or
hereafter arising, in law, equity or otherwise, based in whole or in part upon any act or omission or other event
occurring prior to the Commencement Date or during the course of the Chapter 11 Case, including through the
Effective Date.

        15.     “Chapter 11 Case” means the chapter 11 case pending for the Debtor under chapter 11 of the
Bankruptcy Code in the Bankruptcy Court.

         16.      “Claim” means any claim against a Debtor as defined in section 101(5) of the Bankruptcy Code.

         17.      “Claims Bar Date” means, as applicable, (a) June 10, 2015, (b) the Governmental Bar Date or
(c) such other period of limitation as may be specifically fixed by an order of the Bankruptcy Court for Filing such
Claims.

         18.      “Claims Objection Bar Date” means, for each Claim, the later of (a) 180 days after the Effective
Date and (b) such other period of limitation as may be specifically fixed by an order of the Bankruptcy Court for
objecting to such Claims; provided, however, that in no event shall the Claims Objection Bar Date be greater than
120 days after the Effective Date with respect to any General Unsecured Claim in Class 39.

         19.      “Claims Register” means the official register of Claims maintained by the Bankruptcy Court.

         20.      “Class” means a category of Holders of Claims or Equity Interests as set forth in Article III hereof
pursuant to section 1122(a) of the Bankruptcy Code.

        21.      “Commencement Date” means February 4, 2015, the date on which the Debtor commenced the
Chapter 11 Case.

         22.      “Commission” means the U.S. Securities and Exchange Commission.

         23.      “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Case,
subject to all conditions specified in Article IX hereof having been: (a) satisfied; or (b) waived pursuant to Article
IX.C hereof.

        24.      “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation
Order on the docket of the Chapter 11 Case, within the meaning of Bankruptcy Rules 5003 and 9021.




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         25.      “Confirmation Hearing” means the hearing held by the Bankruptcy Court on Confirmation of the
Plan pursuant to section 1129 of the Bankruptcy Code, as such hearing may be continued from time to time.

         26.      “Confirmation Hearing Notice” means that certain notice of Confirmation Hearing approved by
the Disclosure Statement Order.

         27.       “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code.

         28.      “Consummation” means the occurrence of the Effective Date.

         29.      “Creditor” means a Holder of a Claim.

        30.     “Cure Claim” means a Claim based upon the Debtor’s default on an Executory Contract or
Unexpired Lease at the time such contract or lease is assumed by the Debtor under sections 365 or 1123 of the
Bankruptcy Code.

         31.      “Debtor” means Wishing Well Property Investments, LLC, Series 1, in its individual capacity as a
debtor in this Chapter 11 Case.

         32.       “Debtor in Possession” means the Debtor, as debtor in possession in this Chapter 11 Case.

          33.      “Disclosure Statement” means the Disclosure Statement for Plan of Reorganization of Wishing
Well Property Investments, LLC, Series 1 Under Chapter 11 of the Bankruptcy Code, as amended, supplemented or
modified from time to time, including all exhibits and schedules thereto and references therein that relate to the Plan,
that is prepared and distributed in accordance with the Bankruptcy Code, Bankruptcy Rules and any other applicable
law.

          34.      “Disclosure Statement Motion” means that certain Motion for Order (A) Approving the Disclosure
Statement, (B) Establishing the Record Date, Voting Deadline, and Other Dates, (C) Approving Procedures for
Soliciting, Receiving and Tabulating Votes on the Plan and for Filing Objections to the Plan and (D) Approving the
Manner and Forms of Notice and Other Related Documents, filed with the Bankruptcy Court on June 26, 2015, as
the Motion may be amended from time to time.

         35.     “Disclosure Statement Order” means that certain Order (A) Approving the Disclosure Statement,
(B) Establishing the Record Date, Voting Deadline, and Other Dates, (C) Approving Procedures for Soliciting,
Receiving and Tabulating Votes on the Plan and for Filing Objections to the Plan and (D) Approving the Manner
and Forms of Notice and Other Related Documents, approved by the Bankruptcy Court on September 24, 2015, as
the order may be amended from time to time.

          36.       “Disputed Claim” means, with respect to any Claim or Equity Interests, any Claim or Equity
Interests listed on (a) the Claims Register that is not yet Allowed, or (b) Scheduled as Disputed.

         37.      “Distribution Agent” means the Debtor or any other distribution agent the Debtor may select.

         38.       “Distribution Record Date” means the date for determining which Holders of Claims are eligible
to receive distributions hereunder and shall be the Voting Deadline or such other date as designated in an order of
the Bankruptcy Court.

         39.     “Effective Date” means the day that is the first Business Day occurring at least 14 days after the
Confirmation Date on which: (a) no stay of the Confirmation Order is in effect; and (b) all conditions specified in
Article IX.B hereof have been: (i) satisfied; or (ii) waived pursuant to Article IX.C hereof.

         40.      “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.



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        41.       “Equity Contribution” means the contributions to the Debtor’s estate to fund the Plan and
payments in full to administrative claimants, priority claimants and HOA claims in Classes 1 through 38 of the Plan.
The Equity Contribution is currently valued at $80,000.00.

           42.    “Equity Interest” means any: (a) equity security in the Debtor, including all issued, unissued,
authorized, or outstanding shares of stock, together with any warrants, options, or contractual rights to purchase or
acquire such equity securities at any time and all rights arising with respect thereto or (b) partnership, limited
liability company, or similar interest in the Debtor.

         43.       “Estate” means, as to the Debtor, the estate created for the Debtor in its Chapter 11 Case pursuant
to section 541 of the Bankruptcy Code.

          44.       “Exchange Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a-77aa, or any similar federal,
state or local law.

        45.       “Executory Contract” means a contract to which the Debtor is a party that is subject to
assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

        46.     “Fee Claim” means a Claim under sections 328, 330(a), 331, 363, 503 or 1103 of the Bankruptcy
Code for Accrued Professional Compensation.

         47.     “File” or “Filed” means file, filed or filing with the Bankruptcy Court or its authorized designee in
this Chapter 11 Case.

          48.      “Final Order” means an order or judgment of the Bankruptcy Court, or other court of competent
jurisdiction with respect to the subject matter, as entered on the docket in the Chapter 11 Case or the docket of any
court of competent jurisdiction, that has not been reversed, stayed, modified or amended, and as to which the time to
appeal, or seek certiorari or move for a new trial, reargument or rehearing has expired and no appeal or petition for
certiorari or other proceedings for a new trial, reargument or rehearing been timely taken, or as to which any appeal
that has been taken or any petition for certiorari that has been timely Filed has been withdrawn or resolved by the
highest court to which the order or judgment was appealed or from which certiorari was sought or the new trial, re-
argument or rehearing shall have been denied, resulted in no modification of such order or has otherwise been
dismissed with prejudice.

        49.       “General Unsecured Claim” means: (i) a Class 39 General Unsecured; and (ii) any unsecured
Claim against any Debtor that is not: (a) an Administrative Claim, (b) a Priority Tax Claim, (c) a Priority Non-Tax
Claim, or (d) a Secured Claim.

         50.      “Governmental Bar Date” means August 3, 2015.

         51.      “Holder” means an Entity holding a Claim or an Equity Interest.

         52.      “Impaired” means any Claims in an Impaired Class.

         53.      “Impaired Class” means an impaired Class within the meaning of section 1124 of the Bankruptcy
Code.

         54.       “Initial Distribution Date” means the date that is as soon as practicable after the Effective Date,
but no later than thirty (30) days after the Effective Date, when distributions under the Plan shall commence.

         55.     “New Equity Interests” means the equity in Reorganized Debtor to be authorized, issued or
reserved on the Effective Date pursuant to the Plan, which shall constitute all of the direct or indirect equity of the
Reorganized Debtor.




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         56.       “Periodic Distribution Date” means the first Business Day that is as soon as reasonably
practicable occurring no later than approximately 180 days after the Initial Distribution Date, and thereafter, the first
Business Day that is as soon as reasonably practicable occurring no later than 180 days after the immediately
preceding Periodic Distribution Date.

         57.      “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

         58.      “Petition Date” means February 4, 2015, the date on which the Debtor commenced the Chapter 11
Case.

         59.       “Plan” means this Plan of Reorganization of Wishing Well Property Investments, LLC, Series 1
Under Chapter 11 of the Bankruptcy Code dated June 24, 2015, as amended, supplemented or modified from time to
time, including, without limitation, the Plan Supplement, which is incorporated herein by reference.

         60.      “Plan Supplement” means, collectively, the compilation of documents and forms of documents,
and all exhibits, attachments, schedules, agreements, documents and instruments referred to therein, ancillary or
otherwise, all of which are incorporated by reference into, and are an integral part of, the Plan, as all of the same
may be amended, modified, replaced and/or supplemented from time to time in accordance with the terms hereof
and the Bankruptcy Code and the Bankruptcy Rules.

         61.       “Priority Non-Tax Claim” means any Claim accorded priority in right of payment pursuant to
section 507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an Administrative Claim.

        62.       “Priority Tax Claim” means any Claim of a governmental unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

         63.      “Proof of Claim” means a proof of Claim Filed against the Debtor in the Chapter 11 Case.

         64.      “Proof of Interest” means proof of Equity Interest filed against the Debtor in the Chapter 11 Case.

         65.     “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to the
aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a particular Class bear
to the aggregate amount of Allowed Claims in a particular Class and other Classes entitled to share in the same
recovery as such Allowed Claim under the Plan.

         66.      “Record Date” means the close of business on August 3, 2015, the date of the Governmental Bar
Date.

        67.       “Reorganized Debtor” means the Debtor, or any successor thereto, by merger, consolidation or
otherwise, on or after the Effective Date.

         68.       “Retained Professional” means any Entity: (a) employed in this Chapter 11 Case pursuant to a
Final Order in accordance with sections 327 and 1103 of the Bankruptcy Code and to be compensated for services
rendered prior to the Effective Date, pursuant to sections 327, 328, 329, 330 or 331 of the Bankruptcy Code; or
(b) for which compensation and reimbursement has been allowed by the Bankruptcy Court pursuant to
section 503(b)(4) of the Bankruptcy Code.

        69.     “Schedules” mean, collectively, the schedules of assets and liabilities, schedules of Executory
Contracts and Unexpired Leases and statements of financial affairs Filed by the Debtor pursuant to section 521 of
the Bankruptcy Code and in substantial accordance with the Official Bankruptcy Forms, as the same may have been
amended, modified or supplemented from time to time.

         70.      “Securities Act” means the United States Securities Act of 1933, as amended.

         71.      “SLF” means The Schwartz Law Firm, Inc.


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         72.       “Solicitation Deadline” means the close of business on October 16, 2015.

        73.      “Solicitation Package” means the Disclosure Statement, the Plan, all exhibits thereto, Ballots and
the Confirmation Hearing Notice.

          74.       “Tort Claim” means any Claim that has not been settled, compromised or otherwise resolved that:
(a) arises out of allegations of personal injury, wrongful death, property damage, products liability or similar legal
theories of recovery; or (b) arises under any federal, state or local statute, rule, regulation or ordinance governing,
regulating or relating to protection of human health, safety or the environment.

         75.       “Unexpired Lease” means a lease to which the Debtor is a party that is subject to assumption or
rejection under sections 365 or 1123 of the Bankruptcy Code.

          76.       “Unimpaired” means, with respect to a Class of Claims or Equity Interests, a Claim or an Equity
Interest that is unimpaired within the meaning of section 1124 of the Bankruptcy Code.

        77.     “Unimpaired Class” means an unimpaired Class within the meaning of section 1124 of the
Bankruptcy Code.

         78.       “Voting Classes” means, Classes 1 through 39, excluding Classes 3, 6, 9, 10, 14, 32, 35, 36(b) and
37.

        79.      “Voting Deadline” means November 13, 2015 at 5:00 p.m. prevailing Pacific Time for all Holders
of Claims, which is the date and time by which all Ballots must be received by the Debtor in accordance with the
Disclosure Statement Order, or such other date and time as may be established by the Bankruptcy Court with respect
to any Voting Class.

                                                ARTICLE II.

                              ADMINISTRATIVE AND PRIORITY TAX CLAIMS

A.       Administrative Claims

         Each Holder of an Allowed Administrative Claim shall be paid the full unpaid amount of such Claim in
Cash (a) on or as soon as reasonably practicable after the Effective Date, (b) if such Claim is Allowed after the
Effective Date, on or as soon as reasonably practicable after the date such Claim is Allowed, or (c) upon such other
terms as may be agreed upon by the Debtor or the Reorganized Debtor, as applicable, and such Holder or otherwise
upon an order of the Bankruptcy Court; provided, however, that Allowed Administrative Expense Claims
representing liabilities incurred by the Debtor in the ordinary course of business during the chapter 11 cases, other
than those liabilities constituting or relating to commercial tort claims or patent, trademark or copyright
infringement claims, shall be paid in the ordinary course of business in accordance with the terms and subject to the
conditions of any agreements governing, instruments evidencing, or other documents related to such transactions,
and holders of claims related to such ordinary course liabilities are not required to File or serve any request for
payment of such Administrative Claims.

         1.    Bar Date for Administrative Claims

         Except as otherwise provided in this Article II.A hereof, unless previously Filed, requests for payment of
Administrative Claims must be Filed and served on the Reorganized Debtor pursuant to the procedures specified in
the Confirmation Order and the notice of entry of the Confirmation Order no later than 45 days after the Effective
Date. Holders of Administrative Claims that are required to File and serve a request for payment of such
Administrative Claims, including, without limitation, Holders of Claims for liabilities constituting or relating to
commercial tort claims or patent, trademark or copyright infringement claims who assert that such claims constitute
Administrative Claims, that do not File and serve such a request by the applicable Claims Bar Date shall be forever
barred, estopped and enjoined from asserting such Administrative Claims against the Debtor or any Reorganized


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Debtor or their Estates and property and such Administrative Claims shall be deemed discharged as of the Effective
Date. Objections to such requests must be Filed and served on the Reorganized Debtor and the requesting party by
the later of (a) 120 days after the Effective Date and (b) 60 days after the Filing of the applicable request for
payment of Administrative Claims, if applicable, as the same may be modified or extended from time to time by the
Bankruptcy Court and/or on motion of a party in interest approved by the Bankruptcy Court.

        2.   Professional Compensation and Reimbursement Claims

         Retained Professionals or other Entities asserting a Fee Claim for services rendered before the
Confirmation Date must File and serve on the Reorganized Debtor and such other Entities who are designated by the
Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court an application for final allowance
of such Fee Claim no later than 60 days after the Effective Date; provided that the Reorganized Debtor shall pay
Retained Professionals or other Entities in the ordinary course of business for any work performed after the
Confirmation Date. Objections to any Fee Claim must be Filed and served on the Reorganized Debtor and the
requesting party by 14 days after the Filing of the applicable request for payment of the Fee Claim. To the extent
necessary, the Confirmation Order shall amend and supersede any previously entered order of the Bankruptcy Court
regarding the payment of Fee Claims. Each Holder of an Allowed Fee Claim shall be paid by the Reorganized
Debtor in Cash within five (5) Business Days of entry of the order approving such Allowed Fee Claim.

        Priority Wage/Commission Claims

         Priority Wage/Commission claims are unsecured employee wage or sales commissions described by
section 507(a)(4) of the Bankruptcy Code, which allows priority treatment, but only to the extent of $12,475 for
each individual or corporation, as the case may be, earned within 180 days of the petition date. Unless the Holder of
such section 507(a)(4) claim agrees otherwise, such holders with receive payment of their claim amount entitled to
priority on the Effective Date of the Plan. The Debtor does not currently owe any priority wage or commission
claims.

        Priority Tax Claims

          Each Holder of an Allowed Priority Tax Claim due and payable on or prior to the Effective Date shall
receive, as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Priority Tax Claim; (2) Cash in an amount agreed to by the Debtor or
Reorganized Debtor, as applicable, and such Holder; provided, however, that such parties may further agree for the
payment of such Allowed Priority Tax Claim at a later date; or (3) at the option of the Debtor, Cash in an aggregate
amount of such Allowed Priority Tax Claim payable in installment payments over a period not more than five years
after the Commencement Date, plus simple interest at the rate required by applicable law on any outstanding balance
from the Effective Date, or such lesser rate as is agreed to by a particular taxing authority, pursuant to section
1129(a)(9)(C) of the Bankruptcy Code. To the extent any Allowed Priority Tax Claim is not due and owing on the
Effective Date, such claim shall be paid in full in cash in accordance with the terms of any agreement between the
Debtor and such holder, or as may be due and payable under applicable non-bankruptcy law or in the ordinary
course of business. The Debtor does not have any Priority Tax Claims.

                                              ARTICLE III.

                                 CLASSIFICATION AND TREATMENT
                            OF CLASSIFIED CLAIMS AND EQUITY INTERESTS

A.      Summary

         1.       This Plan constitutes the chapter 11 plan of reorganization for the Debtor. Except for the Claims
addressed in Article II above (or as otherwise set forth herein), all Claims against the Debtor are placed in Classes
for the Debtor. Class 40 consists of Equity Interests. In accordance with section 1123(a)(1) of the Bankruptcy
Code, the Debtor has not classified Administrative Claims and Priority Tax Claims, as described in Article II.



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          2.       The categories of Claims and Equity Interests listed below classify Claims and Equity Interests for
all purposes, including, without limitation, voting, Confirmation and distribution pursuant hereto and pursuant to
sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems a Claim or Equity Interest to be classified in
a particular Class only to the extent that the Claim or Equity Interest qualifies within the description of that Class
and shall be deemed classified in a different Class to the extent that any remainder of such Claim or Equity Interest
qualifies within the description of such different Class. A Claim or Equity Interest is in a particular Class only to the
extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid or otherwise settled
prior to the Effective Date.

         3.       Summary of Classification and Treatment of Classified Claims and Equity Interests

     Class                                   Claim                                      Status          Voting Rights

        1      Secured Claim of U.S. Bank                                             Impaired        Entitled to Vote
      2(a)     Secured Claim of Summerlin North Community Association                 Impaired        Entitled to Vote
     2(b)      Secured Claim of U.S. Bank                                             Impaired        Entitled to Vote
        3      Secured Claim of Deutsche Bank                                        Unimpaired      Not Entitled to Vote
        4      Secured Claim of Nationstar Mortgage                                   Impaired        Entitled to Vote
      5(a)     Secured Claim of Southern Highlands Community Association              Impaired        Entitled to Vote
     5(b)      Secured Claim of U.S. Bank                                             Impaired        Entitled to Vote
        6      Secured Claim of Nationstar Mortgage                                  Unimpaired      Not Entitled to Vote
        7      Secured Claim of Bank of New York Mellon                               Impaired        Entitled to Vote
        8      Secured Claim of Green Tree ServicingDitech Financial                  Impaired        Entitled to Vote
        9      Secured Claim of Wells Fargo Bank                                     Unimpaired      Not Entitled to Vote
       10      Secured Claim of Nationstar Mortgage                                  Unimpaired      Not Entitled to Vote
       11      Secured Claim of Green Tree ServicingDitech Financial                  Impaired        Entitled to Vote
       12      Secured Claim of Bank of America                                       Impaired        Entitled to Vote
       13      Secured Claim of Bank of America                                       Impaired        Entitled to Vote
       14      Secured Claim of Nationstar Mortgage                                  Unimpaired      Not Entitled to Vote
       15      Secured Claim of Bank of America                                       Impaired        Entitled to Vote
       16      Secured Claim of Bank of New York Mellon                               Impaired        Entitled to Vote
     17(a)     Secured Claim of Villa Del Oro Owners Association                      Impaired        Entitled to Vote
     17(b)     Secured Claim of Bank of New York Mellon                               Impaired        Entitled to Vote
       18      Secured Claim of Green Tree ServicingDitech Financial                  Impaired        Entitled to Vote
     19(a)     Secured Claim of Century Meadows Homeowners Association                Impaired        Entitled to Vote
     19(b)     Secured Claim of Green Tree ServicingDitech Financial                  Impaired        Entitled to Vote
     20(a)     Secured Claim of Silverado Court Landscape Maintenance Corp            Impaired        Entitled to Vote
     20(b)     Secured Claim of Bayview Servicing                                     Impaired        Entitled to Vote
       21      Secured Claim of Green Tree ServicingDitech Financial                  Impaired        Entitled to Vote
       22      Secured Claim of Green Tree ServicingDitech Financial                  Impaired        Entitled to Vote
     23(a)     Secured Claim of Mountain’s Edge Master Association                    Impaired        Entitled to Vote
     23(b)     Secured Claim of Bank of America                                       Impaired        Entitled to Vote
     24(a)     Secured Claim of Lynbrook Master Association                           Impaired        Entitled to Vote
     24(b)     Secured Claim of Green Tree ServicingDitech Financial                  Impaired        Entitled to Vote
       25      Secured Claim of Bank of America                                       Impaired        Entitled to Vote
       26      Secured Claim of Bank of America                                       Impaired        Entitled to Vote
       27      Secured Claim of Ocwen Loan Servicing                                  Impaired        Entitled to Vote
       28      Secured Claim of Bank of New York Mellon                               Impaired        Entitled to Vote
     29(a)     Secured Claim of Villas at Huntington HOA                              Impaired        Entitled to Vote
     29(b)     Secured Claim of Bank of New York Mellon                               Impaired        Entitled to Vote
       30      Secured Claim of Deutsche BankNationstar Mortgage                      Impaired        Entitled to Vote
       31      Secured Claim of U.S. Bank                                             Impaired        Entitled to Vote
       32      Secured Claim of Bayview Servicing                                    Unimpaired      Not Entitled to Vote
       33      Secured Claim of The Yandell Living Trust                              Impaired        Entitled to Vote

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     Class                               Claim                                     Status          Voting Rights
      34     Secured Claim of Bank of America                                     Impaired        Entitled to Vote
      35     Secured Claim of Nationstar Mortgage                                Unimpaired      Not Entitled to Vote
     36(a)   Secured Claim of Iron Mountain Landscape Maintenance Assn            Impaired        Entitled to Vote
     36(b)   Secured Claim of Bank of New York Mellon                            Unimpaired      Not Entitled to Vote
      37     Secured Claim of Nationstar Mortgage                                Unimpaired      Not Entitled to Vote
      38     Secured Claim of Bank of America                                     Impaired        Entitled to Vote
      39     General Unsecured Claims                                             Impaired        Entitled to Vote
      40     Equity Interests                                                    Unimpaired      Deemed to Accept


B.     Classification and Treatment of Claims and Equity Interests

       1.      Class 1 – Secured Claim of U.S. Bank, N.A.

               (a)      Classification: Class 1 consists of the Secured Claim of U.S. Bank, N.A. against the
                        Debtor’s real property located at 8820 Adobe Grande Street, Las Vegas, Nevada 89131.

               (b)      Treatment: The holder of the Allowed Class 1 Secured Claim shall be impaired and paid
                        in the amount of $239,000.00, with interest at 4.0% per annum and amortized over a
                        period of 30 years. The Class 1 holder will receive monthly principal and interest
                        payments in the amount of $1,141.02. In the event of a default post-confirmation, the
                        secured creditor shall first comply with all default procedures set forth in the Plan, second
                        any contract between the parties, and last, if necessary or applicable, state law.

               (c)      Voting: Class 1 is an impaired Class, and the holder of the Class 1 Claim is entitled to
                        vote to accept or reject the Plan.

       2.      Class 2(a) – Secured Claim of Summerlin North Community Association

               (a)      Classification: Class 2(a) consists of the Secured Claim of Summerlin North Community
                        Association against the Debtor’s real property located at 9428 Amber Valley Lane, Las
                        Vegas, Nevada 89134.

               (b)      Treatment: The holder of the Allowed Class 2(a) Secured Claim shall be impaired and
                        paid the amount equal to nine (9) months of assessments, or $423.00, on the Effective
                        Date of the Plan.

               (c)      Voting: Class 2(a) is an impaired Class, and the holders of the Class 2(a) Claim is entitled
                        to vote to accept or reject the Plan.

               Class 2(b) – Secured Claim of U.S. BankOcwen Loan Servicing

               (a)      Classification: Class 2(b) consists of the Secured Claim of U.S. BankOcwen Loan
                        Servicing against the Debtor’s real property located at 9428 Amber Valley Lane, Las
                        Vegas, Nevada 89134.

               (b)      Treatment: The holder of the Allowed Class 2(b) Secured Claim shall be impaired and
                        paid as set forth in the stipulation between the parties, Docket No. 232, in the amount of
                        $218,000.00$238,500.00, with interest at 4.05.25% per annum and amortized over a
                        period of 30 years. The Class 2(b) holder will receive monthly principal and interest
                        payments in the amount of $1,040.771,317.01. In the event of a default post-
                        confirmation, the secured creditor shall first comply with all default procedures set forth
                        in the stipulation between the parties Plan, second any contract between the parties, and
                        last, if necessary or applicable, state law.

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      (c)     Voting: Class 2(b) is an impaired Class, and the holder of the Class 2(b) Claim is entitled
              to vote to accept or reject the Plan.

3.    Class 3 – Secured Claim of Deutsche Bank

      (a)     Classification: Class 3 consists of the Secured Claim of Deutsche Bank against the
              Debtor’s real property located at 3509 Benson Lane, Las Vegas, Nevada 89032.

      (b)     Treatment: The holder of the Allowed Class 3 Secured Claim shall be unimpaired and
              paid the entire amount of its allowed claim in the amount of $195,200.00313,880.40 in
              payments of $542.22871.89 per month over 30 years in accordance with Deutsche Bank’s
              election under section 1111(b) of the Bankruptcy Code. In the event of a default post-
              confirmation, the secured creditor shall first comply with all default procedures set forth
              in the Plan, second any contract between the parties, and last, if necessary or applicable,
              state law.

      (c)     Voting: Class 3 is an unimpaired Class, and the holder of the Class 3 Claim is not entitled
              to vote to accept or reject the Plan.

4.    Class 4 – Secured Claim of Nationstar Mortgage

      (a)     Classification: Class 4 consists of the Secured Claim of Nationstar Mortgage against the
              Debtor’s real property located at 721 Biltmore Avenue, Las Vegas, Nevada 89101.

      (b)     Treatment:       The Allowed Class 4 Secured Claim shall be impaired and paid its
              indubitable equivalent in accordance with section 1129(b)(2)(A)(iii) by the Debtor’s
              surrendering of the property to Nationstar Mortgage in accordance with the stipulation
              between the parties, Docket No. 234. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the stipulation
              between the partiesPlan, second any contract between the parties, and last, if necessary or
              applicable, state law.

      (c)     Voting: Class 4 is an impaired Class, and the holder of the Class 4 Claim is entitled to
              vote to accept or reject the Plan.

5.    Class 5(a) – Secured Claim of Southern Highlands Community Association

      (a)     Classification: Class 5(a) consists of the Secured Claim of Southern Highlands
              Community Association against the Debtor’s real property located at 3067 Cantabria
              Court, Las Vegas, Nevada 89141.

      (b)     Treatment: The holder of the Allowed Class 5(a) Secured Claim shall be impaired and
              paid the amount equal to nine (9) months of assessments, or $540.00, on the Effective
              Date of the Plan.

      (c)     Voting: Class 5(a) is an impaired Class, and the holders of the Class 5(a) Claim is entitled
              to vote to accept or reject the Plan.

      Class 5(b) – Secured Claim of U.S. BankSuntrust Mortgage

      (a)     Classification: Class 5(b) consists of the Secured Claim of U.S. BankSuntrust Mortgage
              against the Debtor’s real property located at 3067 Cantabria Court, Las Vegas, Nevada
              89141.




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      (b)     Treatment: The holder of the Allowed Class 5(b) Secured Claim shall be impaired and
              paid as agreed by the parties in the amount of $170,000.00183,500.00, with interest at
              4.05.25% per annum and amortized over a period of 30 years. The Class 5(b) holder will
              receive monthly principal and interest payments in the amount of $811.611,109.62. In
              the event of a default post-confirmation, the secured creditor shall first comply with all
              default procedures set forth in the Plan, second any contract between the parties, and last,
              if necessary or applicable, state law.

      (c)     Voting: Class 5(b) is an impaired Class, and the holder of the Class 5(b) Claim is entitled
              to vote to accept or reject the Plan.

6.    Class 6 – Secured Claim of Nationstar Mortgage

      (a)     Classification: Class 6 consists of the Secured Claim of Nationstar Mortgage against the
              Debtor’s real property located at 2103 Capestone Street, Las Vegas, Nevada 89134.

      (b)     Treatment: The holder of the Allowed Class 6 Secured Claim shall be unimpaired and
              paid the entire amount of its claim as set forth in the stipulation between the parties,
              Docket No. 268, in the amount of $302,448.59 in payments of $840.131,424.69 per
              month over 30 years, based on a property value of $258,000.00 and an interest rate of
              5.25% in accordance with Nationstar’s election under section 1111(b) of the Bankruptcy
              Code. In the event of a default post-confirmation, the secured creditor shall first comply
              with all default procedures set forth in the stipulation between the partiesPlan, second any
              contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 6 is an unimpaired Class, and the holder of the Class 6 Claim is not entitled
              to vote to accept or reject the Plan.

7.    Class 7 – Secured Claim of Bank of New York Mellon

      (a)     Classification: Class 7 consists of the Secured Claim of Bank of New York Mellon
              against the Debtor’s real property located at 6413 Capricorn Drive, Las Vegas, Nevada
              89108.

      (b)     Treatment: The holder of the Allowed Class 7 Secured Claim shall be impaired and paid
              in the amount of $89,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 7 holder will receive monthly principal and interest
              payments in the amount of $424.90. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 7 is an impaired Class, and the holder of the Class 7 Claim is entitled to
              vote to accept or reject the Plan.

8.    Class 8 – Secured Claim of Green Tree ServicingDitech Financial, LLC

      (a)     Classification: Class 8 consists of the Allowed Secured Claim of Green Tree
              ServicingDitech Financial, LLC in the amount of $180,500.00 against the Debtor’s real
              property located at 7475 Desert Lupine Street, Las Vegas, Nevada 89139.

      (b)     Treatment: The holder of the Allowed Class 8 Secured Claim shall be impaired and paid
              in accordance with the stipulation between the parties, Docket No. 255, in the allowed
              amount of $165,000.00180,500.00, with interest at 4.05.25% per annum and amortized
              over a period of 30 years. The Class 8 holder will receive monthly principal and interest
              payments in the estimated amount of $787.74996.73. In the event of a default by the


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              Debtor post-confirmation, the secured creditor shall first comply with all default
              procedures set forth in the Plan, second any contract between the parties, and last, if
              necessary or applicable, state lawholder of the Allowed Class 8 Secured Claim shall have
              the rights and remedies as set forth in the aforementioned stipulation between the parties.
              The stipulation is incorporated herein and to the extent there are any inconsistencies
              between the Plan and the stipulation relating to the Allowed Class 8 Secured Claim, the
              terms of the stipulation shall control.

      (c)     Voting: Class 8 is an impaired Class, and the holder of the Class 8 Claim is entitled to
              vote to accept or reject the Plan.

9.    Class 9 – Secured Claim of Wells Fargo Bank, N.A.

      (a)     Classification: Class 9 consists of the Secured Claim of Wells Fargo Bank, N.A. against
              the Debtor’s real property located at 9120 Entrancing Avenue, Las Vegas, Nevada 89149.

      (b)     Treatment: The holder of the Allowed Class 9 Secured Claim shall be unimpaired and
              paid the entire amount of its allowed claim in the amount of $176,594.00313,963.20 in
              payments of $490.54872.12 per month over 30 years, based on a property value of
              $139,000.00 and an interest rate of 5.25% in accordance with Wells Fargo’s election
              under section 1111(b) of the Bankruptcy Code. In the event of a default post-
              confirmation, the secured creditor shall first comply with all default procedures set forth
              in the Plan, second any contract between the parties, and last, if necessary or applicable,
              state law.

      (c)     Voting: Class 9 is an unimpaired Class, and the holder of the Class 9 Claim is not entitled
              to vote to accept or reject the Plan.

10.   Class 10 – Secured Claim of Nationstar Mortgage

      (a)     Classification: Class 10 consists of the Secured Claim of Nationstar Mortgage against the
              Debtor’s real property located at 7973 Firethorn Lane, Las Vegas, Nevada 89123.

      (b)     Treatment: The holder of the Allowed Class 10 Secured Claim shall be unimpaired and
              paid the entire amount of its claim as set forth in the stipulation between the parties,
              Docket No. 233, in the amount of $230,000.00 in payments of $638.89828.31 per month
              over 30 years, based on a property value of $150,000 and an interest rate of 5.25% in
              accordance with Nationstar’s election under section 1111(b) of the Bankruptcy Code. In
              the event of a default post-confirmation, the secured creditor shall first comply with all
              default procedures set forth in the stipulation between the partiesPlan, second any
              contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 10 is an unimpaired Class, and the holder of the Class 10 Claim is not
              entitled to vote to accept or reject the Plan.

11.   Class 11 – Secured Claim of Green Tree ServicingDitech Financial, LLC

      (a)     Classification: Class 11 consists of the Allowed Secured Claim of Green Tree
              ServicingDitech Financial, LLC in the amount of $170,000.00 against the Debtor’s real
              property located at 6740 Fort Benton Road, Las Vegas, Nevada 89122.

      (b)     Treatment: The holder of the Allowed Class 11 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 259, in the
              allowed amount of $155,000.00170,000.00, with interest at 4.05.25% per annum and
              amortized over a period of 30 years. The Class 11 holder will receive monthly principal


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              and interest payments in the estimated amount of $739.99938.75. In the event of a
              default by the Debtor post-confirmation, the secured creditor shall first comply with all
              default procedures set forth in the Plan, second any contract between the parties, and last,
              if necessary or applicable, state law.holder of the Allowed Class 11 Secured Claim shall
              have the rights and remedies as set forth in the aforementioned stipulation between the
              parties. The stipulation is incorporated herein and to the extent there are any
              inconsistencies between the Plan and the stipulation relating to the Allowed Class 11
              Secured Claim, the terms of the stipulation shall control.

      (c)     Voting: Class 11 is an impaired Class, and the holder of the Class 11 Claim is entitled to
              vote to accept or reject the Plan.

12.   Class 12 – Secured Claim of Bank of America

      (a)     Classification: Class 12 consists of the Secured Claim of Bank of America against the
              Debtor’s real property located at 7703 Gatsby House Street, Las Vegas, Nevada 89166.

      (b)     Treatment: The holder of the Allowed Class 12 Secured Claim shall be impaired and
              paid in accordance with the stipulation of the parties, Docket No. 236, in the amount of
              $190,000.00202,000.00, with interest at 4.05.25% per annum and amortized over a period
              of 30 years. The Class 12 holder will receive monthly principal and interest payments in
              the amount of $907.091,115.45. In the event of a default post-confirmation, the secured
              creditor shall first comply with all default procedures set forth in the stipulation between
              the partiesPlan, second any contract between the parties, and last, if necessary or
              applicable, state law.

      (c)     Voting: Class 12 is an impaired Class, and the holder of the Class 12 Claim is entitled to
              vote to accept or reject the Plan.

13.   Class 13 – Secured Claim of Bank of America

      (a)     Classification: Class 12 consists of the Secured Claim of Bank of America against the
              Debtor’s real property located at 6645 Hathersage Avenue, Las Vegas, Nevada 89139.

      (b)     Treatment: The holder of the Allowed Class 13 Secured Claim shall be impaired and
              paid in the amount of $145,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 13 holder will receive monthly principal and interest
              payments in the amount of $692.25. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 13 is an impaired Class, and the holder of the Class 13 Claim is entitled to
              vote to accept or reject the Plan.

14.   Class 14 – Secured Claim of Nationstar Mortgage

      (a)     Classification: Class 14 consists of the Secured Claim of Nationstar Mortgage against the
              Debtor’s real property located at 6418 Hayden Peak Lane, Las Vegas, Nevada 89139.

      (b)     Treatment: The holder of the Allowed Class 14 Secured Claim shall be unimpaired and
              paid the entire amount of its claim in accordance with the stipulation between the parties,
              Docket No. 267, in the amount of $192,000.00 in payments of $533.33668.38 per month
              over 30 years, based on a property value of $140,000.00, and an interest rate of 4.0% in
              accordance with Nationstar’s election under section 1111(b) of the Bankruptcy Code. In
              the event of a default post-confirmation, the secured creditor shall first comply with all


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              default procedures set forth in the stipulation between the partiesPlan, second any
              contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 14 is an unimpaired Class, and the holder of the Class 14 Claim is not
              entitled to vote to accept or reject the Plan.

15.   Class 15 – Secured Claim of Bank of America

      (a)     Classification: Class 15 consists of the Secured Claim of Bank of America against the
              Debtor’s real property located at 5120 Jewel Canyon Drive, Las Vegas, Nevada 89122.

      (b)     Treatment: The holder of the Allowed Class 15 Secured Claim shall be impaired and
              paid in the amount of $94,162.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 15 holder will receive monthly principal and interest
              payments in the amount of $449.54. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 15 is an impaired Class, and the holder of the Class 15 Claim is entitled to
              vote to accept or reject the Plan.

16.   Class 16 – Secured Claim of Bank of New York Mellon

      (a)     Classification: Class 16 consists of the Secured Claim of Bank of New York Mellon
              against the Debtor’s real property located at 1110 Jewel Springs Lane, North Las Vegas,
              Nevada 89081.

      (b)     Treatment: The holder of the Allowed Class 16 Secured Claim shall be impaired and
              paid in the amount of $213,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 16 holder will receive monthly principal and interest
              payments in the amount of $1,016.89. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 16 is an impaired Class, and the holder of the Class 16 Claim is entitled to
              vote to accept or reject the Plan.

17.   Class 17(a) – Secured Claim of Villa Del Oro Owners Association

      (a)     Classification: Class 17(a) consists of the Secured Claim of Villa Del Oro Owners
              Association against the Debtor’s real property located at 3154 Juanita Drive, Las Vegas,
              Nevada 89102.

      (b)     Treatment: The holder of the Allowed Class 17(a) Secured Claim shall be impaired and
              paid an amount equal to nine (9) months of assessments, or $1,620.00, on the Effective
              Date of the Plan.

      (c)     Voting: Class 17(a) is an impaired Class, and the holders of the Class 17(a) Claim is
              entitled to vote to accept or reject the Plan.

      Class 17(b) – Secured Claim of Bank of New York Mellon

      (a)     Classification: Class 17(b) consists of the Secured Claim of Bank of New York Mellon
              against the Debtor’s real property located at 3154 Juanita Drive, Las Vegas, Nevada
              89102.


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      (b)     Treatment: The holder of the Allowed Class 17(b) Secured Claim shall be impaired and
              paid in the amount of $59,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 17(b) holder will receive monthly principal and interest
              payments in the amount of $281.68. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 17(b) is an impaired Class, and the holder of the Class 17(b) Claim is
              entitled to vote to accept or reject the Plan.

18.   Class 18 – Secured Claim of Green Tree ServicingDitech Financial, LLC

      (a)     Classification: Class 18 consists of the Allowed Secured Claim of Green Tree
              ServicingDitech Financial, LLC in the amount of $90,500.00 against the Debtor’s real
              property located at 6187 Meadow View Lane, Las Vegas, Nevada 89103.

      (b)     Treatment: The holder of the Allowed Class 18 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 264, in the
              allowed amount of $80,000.0090,500.00, with interest at 4.05.25% per annum and
              amortized over a period of 30 years. The Class 18 holder will receive monthly principal
              and interest payments in the estimated amount of $381.93499.74. In the event of a
              default by the Debtor post-confirmation, the secured creditor shall first comply with all
              default procedures set forth in the Plan, second any contract between the parties, and last,
              if necessary or applicable, state law.holder of the Allowed Class 18 Secured Claim shall
              have the rights and remedies as set forth in the aforementioned stipulation between the
              parties. The stipulation is incorporated herein and to the extent there are any
              inconsistencies between the Plan and the stipulation relating to the Allowed Class 18
              Secured Claim, the terms of the stipulation shall control.

      (c)     Voting: Class 18 is an impaired Class, and the holder of the Class 18 Claim is entitled to
              vote to accept or reject the Plan.

19.   Class 19(a) – Secured Claim of Century Meadows Homeowners Association

      (a)     Classification: Class 19(a) consists of the Secured Claim of Century Meadows
              Homeowners Association against the Debtor’s real property located at 6138 Meadow
              View Lane, Las Vegas, Nevada 89103.

      (b)     Treatment: The holder of the Allowed Class 19(a) Secured Claim shall be impaired and
              paid an amount equal to nine (9) months of assessments, or $1,701.00, on the Effective
              Date of the Plan.

      (c)     Voting: Class 19(a) is an impaired Class, and the holders of the Class 19(a) Claim is
              entitled to vote to accept or reject the Plan.

      Class 19(b) – Secured Claim of Green Tree ServicingDitech Financial, LLC

      (a)     Classification: Class 19(b) consists of the Allowed Secured Claim of Green Tree
              ServicingDitech Financial, LLC in the amount of $90,500.00 against the Debtor’s real
              property located at 6138 Meadow View Lane, Las Vegas, Nevada 89103.

      (b)     Treatment: The holder of the Allowed Class 19(b) Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 257, in the
              allowed amount of $80,000.0090,500.00, with interest at 4.05.25% per annum and
              amortized over a period of 30 years. The Class 19(b) holder will receive monthly


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              principal and interest payments in the estimated amount of $381.93499.74. In the event
              of a default by the Debtor post-confirmation, the secured creditor shall first comply with
              all default procedures set forth in the Plan, second any contract between the parties, and
              last, if necessary or applicable, state law.holder of the Allowed Class 19(b) Secured
              Claim shall have the rights and remedies as set forth in the aforementioned stipulation
              between the parties. The stipulation is incorporated herein and to the extent there are any
              inconsistencies between the Plan and the stipulation relating to the Allowed Class 19(b)
              Secured Claim, the terms of the stipulation shall control.

      (c)     Voting: Class 19(b) is an impaired Class, and the holder of the Class 19(b) Claim is
              entitled to vote to accept or reject the Plan.

20.   Class 20(a) – Secured Claim of Silverado Court Landscape Maintenance Corporation

      (a)     Classification: Class 20(a) consists of the Secured Claim of Silverado Court Landscape
              Maintenance Corporation against the Debtor’s real property located at 10672 Medicine
              Bow Street, Las Vegas, Nevada 89183.

      (b)     Treatment: The holder of the Allowed Class 20(a) Secured Claim shall be impaired and
              paid an amount equal to nine (9) months of assessments, or $157.50, on the Effective
              Date of the Plan.

      (c)     Voting: Class 20(a) is an impaired Class, and the holders of the Class 20(a) Claim is
              entitled to vote to accept or reject the Plan.

      Class 20(b) – Secured Claim of Bayview Servicing

      (a)     Classification: Class 20(b) consists of the Secured Claim of Bayview Servicing against
              the Debtor’s real property located at 10672 Medicine Bow Street, Las Vegas, Nevada
              89183.

      (b)     Treatment: The holder of the Allowed Class 20(b) Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 266, in the
              amount of $195,000.00255,000.00, with interest at 4.05.25% per annum and amortized
              over a period of 30 years. The Class 20(b) holder will receive monthly principal and
              interest payments in the amount of $930.961,408.12. In the event of a default post-
              confirmation, the secured creditor shall first comply with all default procedures set forth
              in the stipulation between the partiesPlan, second any contract between the parties, and
              last, if necessary or applicable, state law.

      (c)     Voting: Class 20(b) is an impaired Class, and the holder of the Class 20(b) Claim is
              entitled to vote to accept or reject the Plan.

21.   Class 21 – Secured Claim of Green Tree ServicingDitech Financial, LLC

      (a)     Classification: Class 21 consists of the Allowed Secured Claim of Green Tree
              ServicingDitech Financial, LLC in the amount of $216,000.00 against the Debtor’s real
              property located at 7722 Montefrio Avenue, Las Vegas, Nevada 89113.

      (b)     Treatment: The holder of the Allowed Class 21 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 263, in the
              allowed amount of $180,000.00216,000.00, with interest at 4.05.25% per annum and
              amortized over a period of 30 years. The Class 21 holder will receive monthly principal
              and interest payments in the estimated amount of $859.351,192.76. In the event of a
              default by the Debtor post-confirmation, the secured creditor shall first comply with all


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              default procedures set forth in the Plan, second any contract between the parties, and last,
              if necessary or applicable, state law.holder of the Allowed Class 21 Secured Claim shall
              have the rights and remedies as set forth in the aforementioned stipulation between the
              parties. The stipulation is incorporated herein and to the extent there are any
              inconsistencies between the Plan and the stipulation relating to the Allowed Class 21
              Secured Claim, the terms of the stipulation shall control.

      (c)     Voting: Class 21 is an impaired Class, and the holder of the Class 21 Claim is entitled to
              vote to accept or reject the Plan.

22.   Class 22 – Secured Claim of Green Tree ServicingDitech Financial, LLC

      (a)     Classification: Class 22 consists of the Allowed Secured Claim of Green Tree
              ServicingDitech Financial, LLC in the amount of $175,000.00 against the Debtor’s real
              property located at 58 Moonrise Way, Henderson, Nevada 89074.

      (b)     Treatment: The holder of the Allowed Class 22 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 258, in the
              allowed amount of $123,000.00175,000.00, with interest at 4.05.25% per annum and
              amortized over a period of 30 years. The Class 22 holder will receive monthly principal
              and interest payments in the estimated amount of $587.22966.36. In the event of a
              default by the Debtor post-confirmation, the secured creditor shall first comply with all
              default procedures set forth in the Plan, second any contract between the parties, and last,
              if necessary or applicable, state law. Holder of the Allowed Class 22 Secured Claim shall
              have the rights and remedies as set forth in the aforementioned stipulation between the
              parties. The stipulation is incorporated herein and to the extent there are any
              inconsistencies between the Plan and the stipulation relating to the Allowed Class 22
              Secured Claim, the terms of the stipulation shall control.

      (c)     Voting: Class 22 is an impaired Class, and the holder of the Class 22 Claim is entitled to
              vote to accept or reject the Plan.

23.   Class 23(a) – Secured Claim of Mountain’s Edge Master Association

      (a)     Classification: Class 23(a) consists of the Secured Claim of Mountain’s Edge Master
              Association against the Debtor’s real property located at 6982 Positano Hill Avenue, Las
              Vegas, Nevada 89178.

      (b)     Treatment: The holder of the Allowed Class 23(a) Secured Claim shall be impaired and
              paid an amount equal to nine (9) months of assessments, or $225.00, on the Effective
              Date of the Plan.

      (c)     Voting: Class 23(a) is an impaired Class, and the holders of the Class 23(a) Claim is
              entitled to vote to accept or reject the Plan.

      Class 23(b) – Secured Claim of Bank of AmericaCaliber Home Loans

      (a)     Classification: Class 23(b) consists of the Secured Claim of Bank of AmericaCaliber
              Home Loans against the Debtor’s real property located at 6982 Positano Hill Avenue, Las
              Vegas, Nevada 89178.

      (b)     Treatment: The holder of the Allowed Class 23(b) Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 248, in the
              amount of $225,000.00242,072.22, with interest at 4.05.25% per annum and amortized
              over a period of 30 years. The Class 23(b) holder will receive monthly principal and


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              interest payments in the amount of $1,074.181,336.73. In the event of a default post-
              confirmation, the secured creditor shall first comply with all default procedures set forth
              in the stipulation between the partiesPlan, second any contract between the parties, and
              last, if necessary or applicable, state law.

      (c)     Voting: Class 23(b) is an impaired Class, and the holder of the Class 23(b) Claim is
              entitled to vote to accept or reject the Plan.

24.   Class 24(a) – Secured Claim of Lynbrook Master Association

      (a)     Classification: Class 24(a) consists of the Secured Claim of Lynbrook Master
              Association against the Debtor’s real property located at 4836 Pounding Surf Avenue,
              Las Vegas, Nevada 89131.

      (b)     Treatment: The holder of the Allowed Class 24(a) Secured Claim shall be impaired and
              paid an amount equal to nine (9) months of assessments, or $675.00, on the Effective
              Date of the Plan.

      (c)     Voting: Class 24(a) is an impaired Class, and the holders of the Class 24(a) Claim is
              entitled to vote to accept or reject the Plan.

      Class 24(b) – Secured Claim of Green Tree ServicingDitech Financial, LLC

      (a)     Classification: Class 24(b) consists of the Allowed Secured Claim of Green Tree
              ServicingDitech Financial, LLC in the amount of $256,000.00 against the Debtor’s real
              property located at 4836 Pounding Surf Avenue, Las Vegas, Nevada 89131.

      (b)     Treatment: The holder of the Allowed Class 24(b) Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 254, in the
              allowed amount of $247,500.00256,000.00, with interest at 4.05.25% per annum and
              amortized over a period of 30 years. The Class 24(b) holder will receive monthly
              principal and interest payments in the estimated amount of $1,181.601,413.64. In the
              event of a default by the Debtor post-confirmation, the secured creditor shall first comply
              with all default procedures set forth in the Plan, second any contract between the parties,
              and last, if necessary or applicable, state law.holder of the Allowed Class 24(b) Secured
              Claim shall have the rights and remedies as set forth in the aforementioned stipulation
              between the parties. The stipulation is incorporated herein and to the extent there are any
              inconsistencies between the Plan and the stipulation relating to the Allowed Class 24(b)
              Secured Claim, the terms of the stipulation shall control.

      (c)     Voting: Class 24(b) is an impaired Class, and the holder of the Class 24(b) Claim is
              entitled to vote to accept or reject the Plan.

25.   Class 25 – Secured Claim of Bank of America

      (a)     Classification: Class 25 consists of the Secured Claim of Bank of America against the
              Debtor’s real property located at 9076 Sage Thicket Avenue, Las Vegas, Nevada 89178.

      (b)     Treatment: The holder of the Allowed Class 25 Secured Claim shall be impaired and
              paid in the amount of $265,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 25 holder will receive monthly principal and interest
              payments in the amount of $1,265.15. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.



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      (c)     Voting: Class 25 is an impaired Class, and the holder of the Class 25 Claim is entitled to
              vote to accept or reject the Plan.

26.   Class 26 – Secured Claim of Bank of America

      (a)     Classification: Class 26 consists of the Secured Claim of Bank of America against the
              Debtor’s real property located at 9064 Salvatore Street, Las Vegas, Nevada 89148.

      (b)     Treatment: The holder of the Allowed Class 26 Secured Claim shall be impaired and
              paid in the amount of $170,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 26 holder will receive monthly principal and interest
              payments in the amount of $811.61. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 26 is an impaired Class, and the holder of the Class 26 Claim is entitled to
              vote to accept or reject the Plan.

27.   Class 27 – Secured Claim of Ocwen Loan Servicing

      (a)     Classification: Class 27 consists of the Secured Claim of Ocwen Loan Servicing against
              the Debtor’s real property located at 10155 Sequoia Canyon Place, Las Vegas, Nevada
              89148.

      (b)     Treatment: The holder of the Allowed Class 27 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 231, in the
              amount of $215,000.00237,500.00, with interest at 4.05.25% per annum and amortized
              over a period of 30 years. The Class 27 holder will receive monthly principal and interest
              payments in the amount of $1,026.441,311.48. In the event of a default post-
              confirmation, the secured creditor shall first comply with all default procedures set forth
              in the stipulation between the partiesPlan, second any contract between the parties, and
              last, if necessary or applicable, state law.

      (c)     Voting: Class 27 is an impaired Class, and the holder of the Class 27 Claim is entitled to
              vote to accept or reject the Plan.

28.   Class 28 – Secured Claim of Bank of New York Mellon

      (a)     Classification: Class 28 consists of the Secured Claim of Bank of New York Mellon
              against the Debtor’s real property located at 2759 Serenidad Drive, Las Vegas, Nevada
              89123.

      (b)     Treatment: The holder of the Allowed Class 28 Secured Claim shall be impaired and
              paid in the amount of $130,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 28 holder will receive monthly principal and interest
              payments in the amount of $620.64. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 28 is an impaired Class, and the holder of the Class 28 Claim is entitled to
              vote to accept or reject the Plan.




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29.   Class 29(a) – Secured Claim of Villas at Huntington HOA

      (a)     Classification: Class 29(a) consists of the Secured Claim of Villas at Huntington HOA
              against the Debtor’s real property located at 699 Shadwell Street, Las Vegas, Nevada
              89178.

      (b)     Treatment: The holder of the Allowed Class 29(a) Secured Claim shall be impaired and
              paid an amount equal to nine (9) months of assessments, or $379.80.00, on the Effective
              Date of the Plan.

      (c)     Voting: Class 29(a) is an impaired Class, and the holders of the Class 29(a) Claim is
              entitled to vote to accept or reject the Plan.

      Class 29(b) – Secured Claim of Bank of New York Mellon

      (a)     Classification: Class 29(b) consists of the Secured Claim of Bank of New York Mellon
              against the Debtor’s real property located at 699 Shadwell Street, Las Vegas, Nevada
              89178.

      (b)     Treatment: The holder of the Allowed Class 29(b) Secured Claim shall be impaired and
              paid in the amount of $169,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 29(b) holder will receive monthly principal and interest
              payments in the amount of $806.83. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 29(b) is an impaired Class, and the holder of the Class 29(b) Claim is
              entitled to vote to accept or reject the Plan.

30.   Class 30 – Secured Claim of Deutsche BankNationstar Mortgage, LLC

      (a)     Classification: Class 30 consists of the Secured Claim of Deutsche BankNationstar
              Mortgage, LLC against the Debtor’s real property located at 8531 Shelly Road, Las
              Vegas, Nevada 89123.

      (b)     Treatment: The holder of the Allowed Class 30 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 235, in the
              amount of $205,000.00, with interest at 4.05.25% per annum and amortized over a period
              of 30 years. The Class 30 holder will receive monthly principal and interest payments in
              the amount of $978.701,132.02. In the event of a default post-confirmation, the secured
              creditor shall first comply with all default procedures set forth in the stipulation between
              the partiesPlan, second any contract between the parties, and last, if necessary or
              applicable, state law.

      (c)     Voting: Class 30 is an impaired Class, and the holder of the Class 30 Claim is entitled to
              vote to accept or reject the Plan.

31.   Class 31 – Secured Claim of U.S. BankNationstar Mortgage, LLC

      (a)     Classification: Class 31 consists of the Secured Claim of U.S. BankNationstar Mortgage,
              LLC against the Debtor’s real property located at 7593 Slipstream Street, Las Vegas,
              Nevada 89139.

      (b)     Treatment: The holder of the Allowed Class 31 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 253, in the


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              amount of $185,000.00, with interest at 4.05.25% per annum and amortized over a period
              of 30 years. The Class 31 holder will receive monthly principal and interest payments in
              the amount of $883.221,021.58. In the event of a default post-confirmation, the secured
              creditor shall first comply with all default procedures set forth in the stipulation between
              the partiesPlan, second any contract between the parties, and last, if necessary or
              applicable, state law.

      (c)     Voting: Class 31 is an impaired Class, and the holder of the Class 31 Claim is entitled to
              vote to accept or reject the Plan.

32.   Class 32 – Secured Claim of Bayview ServicingRoundpoint Mortgage Servicing

      (a)     Classification: Class 32 consists of the Secured Claim of Bayview ServicingRoundpoint
              Mortgage Servicing against the Debtor’s real property located at 850 Sloan, F104, Las
              Vegas, Nevada 89110.

      (b)     Treatment: The holder of the Allowed Class 32 Secured Claim shall be unimpaired and
              paid the indubitable equivalent of its claim in accordance with section 1129(b)(2)(A)(iii)
              by the Debtor’s surrendering of the property to Roundpoint Mortgage Servicing in
              accordance with the stipulation between the parties, Docket No. 245. entire amount of its
              claim in the amount of $177,750.00 in payments of $493.75 per month over 30 years in
              accordance with its election under section 1111(b) of the Bankruptcy Code. In the event
              of a default post-confirmation, the secured creditor shall first comply with all default
              procedures set forth in the stipulation between the partiesPlan, second any contract
              between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 32 is an impaired Class, and the holder of the Class 32 Claim is entitled to
              vote to accept or reject the Plan.

33.   Class 33 – Secured Claim of The Yandell Living Trust

      (a)     Classification: Class 33 consists of the Secured Claim of The Yandell Living Trust
              against the Debtor’s real property located at 7556 Spanish Bay Drive, Las Vegas, Nevada
              89113.

      (b)     Treatment: The holder of the Allowed Class 33 Secured Claim shall be impaired and
              paid in the amount of $540,000.00, with interest at 4.0% per annum and amortized over a
              period of 30 years. The Class 33 holder will receive monthly principal and interest
              payments in the amount of $2,578.04. In the event of a default post-confirmation, the
              secured creditor shall first comply with all default procedures set forth in the Plan, second
              any contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 33 is an impaired Class, and the holder of the Class 33 Claim is entitled to
              vote to accept or reject the Plan.

34.   Class 34 – Secured Claim of Bank of America

      (a)     Classification: Class 34 consists of the Secured Claim of Bank of America against the
              Debtor’s real property located at 144 Spinnaker Drive, Henderson, Nevada 89015.

      (b)     Treatment: The holder of the Allowed Class 34 Secured Claim shall be impaired and
              paid in accordance with the stipulation between the parties, Docket No. 249, in the
              amount of $119,000.00122,512.66, with interest at 4.05.25% per annum and amortized
              over a period of 30 years. The Class 34 holder will receive monthly principal and interest
              payments in the amount of $568.12676.52. In the event of a default post-confirmation,


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              the secured creditor shall first comply with all default procedures set forth in the
              stipulation between the partiesPlan, second any contract between the parties, and last, if
              necessary or applicable, state law.

      (c)     Voting: Class 34 is an impaired Class, and the holder of the Class 34 Claim is entitled to
              vote to accept or reject the Plan.

35.   Class 35 – Secured Claim of Nationstar Mortgage

      (a)     Classification: Class 35 consists of the Secured Claim of Nationstar Mortgage against the
              Debtor’s real property located at 421 Violetta Avenue, North Las Vegas, Nevada 89031.

      (b)     Treatment: The holder of the Allowed Class 35 Secured Claim shall be unimpaired and
              paid the entire amount of its claim in accordance with the stipulation between the parties,
              Docket No. 233, in the amount of $208,000.00 in payments of $577.78 per month over 30
              years, based on a property value of $153,000.00, and an interest rate of 5.0% in
              accordance with Nationstar’s election under section 1111(b) of the Bankruptcy Code. In
              the event of a default post-confirmation, the secured creditor shall first comply with all
              default procedures set forth in the stipulation between the partiesPlan, second any
              contract between the parties, and last, if necessary or applicable, state law.

      (c)     Voting: Class 35 is an unimpaired Class, and the holder of the Class 35 Claim is not
              entitled to vote to accept or reject the Plan.

36.   Class 36(a) – Secured Claim of Iron Mountain Ranch Landscape Maintenance Association

      (a)     Classification: Class 36(a) consists of the Secured Claim of Iron Mountain Ranch
              Landscape Maintenance Association against the Debtor’s real property located at 4904
              Whistling Acres Avenue, Las Vegas, Nevada 89131.

      (b)     Treatment: The holder of the Allowed Class 35(a) Secured Claim shall be impaired and
              paid an amount equal to nine (9) months of assessments, or $351.00, on the Effective
              Date of the Plan.

      (c)     Voting: Class 36(a) is an impaired Class, and the holders of the Class 36(a) Claim is
              entitled to vote to accept or reject the Plan.

      Class 36(b) – Secured Claim of Bank of New York Mellon

      (a)     Classification: Class 36(b) consists of the Secured Claim of Bank of New York Mellon
              against the Debtor’s real property located at 4904 Whistling Acres Avenue, Las Vegas,
              Nevada 89131.

      (b)     Treatment: The holder of the Allowed Class 36(b) Secured Claim shall be unimpaired
              and paid the entire amount of its allowed claim in the amount of $236,351.00300,945.60
              in payments of $656.53988.44 per month over 30 years, based on a property value of
              $179,000.00 and an interest rate of 5.25% in accordance with Bank of New York
              Mellon’s election under section 1111(b) of the Bankruptcy Code. In the event of a
              default post-confirmation, the secured creditor shall first comply with all default
              procedures set forth in the Plan, second any contract between the parties, and last, if
              necessary or applicable, state law.

      (c)     Voting: Class 36(b) is an unimpaired Class, and the holder of the Class 36(b) Claim is not
              entitled to vote to accept or reject the Plan.



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37.   Class 37 – Secured Claim of Nationstar Mortgage

      (a)      Classification: Class 37 consists of the Secured Claim of Nationstar Mortgage against the
               Debtor’s real property located at 4831 White Jade Street, North Las Vegas, Nevada
               89081.

      (b)      Treatment: The holder of the Allowed Class 37 Secured Claim shall be unimpaired and
               paid the entire amount of its claim in accordance with the stipulation between the parties,
               Docket No. 233, in the amount of $281,707.00 in payments $782.52891.81 per month
               over 30 years, based on a property value of $161,500.00 and an interest rate of 5.25% in
               accordance with Nationstar’s election under section 1111(b) of the Bankruptcy Code. In
               the event of a default post-confirmation, the secured creditor shall first comply with all
               default procedures set forth in the stipulation between the partiesPlan, second any
               contract between the parties, and last, if necessary or applicable, state law.

      (c)      Voting: Class 37 is an unimpaired Class, and the holder of the Class 37 Claim is not
               entitled to vote to accept or reject the Plan.

38.   Class 38 – Secured Claim of Bank of America

      (a)      Classification: Class 38 consists of the Secured Claim of Bank of America against the
               Debtor’s real property located at 611 Zalataia Way, Las Vegas, Nevada 89031.

      (b)      Treatment: The holder of the Allowed Class 38 Secured Claim shall be impaired and
               paid in accordance with the stipulation between the parties, Docket No. 180, in the
               amount of $105,000.00125,000.00, with interest at 45.0% per annum and amortized over
               a period of 30 years. The Class 38 holder will receive monthly principal and interest
               payments in the amount of $501.29671.03. In the event of a default post-confirmation,
               the secured creditor shall first comply with all default procedures set forth in the
               stipulation between the partiesPlan, second any contract between the parties, and last, if
               necessary or applicable, state law.

      (c)      Voting: Class 38 is an impaired Class, and the holder of the Class 38 Claim is entitled to
               vote to accept or reject the Plan.

39.   Class 39 General Unsecured Claims

      (a)      Allowance of General Unsecured Claims: All General Unsecured Claims shall be
               determined and Allowed in accordance with the procedures set forth in Articles VII and
               VIII below.

      (b)      Treatment: Except to the extent that a Holder of an Allowed Class 39 Claim has been
               paid by the Debtor prior to the Effective Date, or agrees to alternate treatment, Allowed
               General Unsecured Claims shall be paid a pro rata distribution from the Equity
               Contribution, after the payment of allowed administrative claims, priority claims and
               HOA claims in classes 1 through 38.

      (c)      Voting: Class 39 is an Impaired Class, and Holders of Class 39 Claims are entitled to vote
               to accept or reject the Plan.

40.   Class 40 – Equity Interests in the Debtor.

      (a)      Classification: Class 40 consists of all Equity Interests.




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                  (b)       Treatment: All of the Debtor’s equity interests will remain unimpaired and the Debtor’s
                            equity security holders shall retain their equity interests in the Reorganized Debtor.

                  (c)       Voting: Class 40 is an Unimpaired Class, and Holders of Class 40 Claims are
                            conclusively deemed to reject the Plan.

C.       Discharge of Claims

          Pursuant to section 1141(c) of the Bankruptcy Code, all Claims and Equity Interests that are not expressly
provided for and preserved herein shall be extinguished upon Confirmation. Upon Confirmation, the Debtor and all
property dealt with herein shall be free and clear of all such claims and interests, including, without limitation, liens,
security interests and any and all other encumbrances.

                                                ARTICLE IV.

                                ACCEPTANCE OR REJECTION OF THE PLAN

A.       Presumed Acceptance of Plan

         Class 40 is Unimpaired under the Plan, and therefore, Class 40 is presumed to have accepted the Plan
pursuant to section 1126(f) of the Bankruptcy Code.

B.       Voting Classes

         Classes 1 through 39 are Impaired Classes under the Plan (excluding Classes 4, 6, 10, 14, 35 and 37) and
Classes 1 through 39 (excluding Classes 4, 6, 10, 14, 35 and 37) shall be entitled to vote to accept or reject the Plan.

C.       Acceptance by Impaired Classes of Claims

         Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in section 1126(e) of
the Bankruptcy Code, an Impaired Class of Claims has accepted the Plan if the Holders of at least two-thirds in
dollar amount and more than one-half in number of the Allowed Claims in such Class actually voting have voted to
accept the Plan.

D.       Cramdown

         The Debtor requests Confirmation of the Plan under section 1129(b) of the Bankruptcy Code with respect
to any Impaired Class that does not accept the Plan pursuant to section 1126 of the Bankruptcy Code. The Debtor
reserves the right to modify the Plan in accordance with Article XIII.B hereof to the extent, if any, that Confirmation
pursuant to section 1129(b) of the Bankruptcy Code requires modification.

E.       Elimination of Vacant Classes

         Any Class of Claims that is not occupied as of the date of commencement of the Confirmation Hearing by
the Holder of an Allowed Claim or a Claim temporarily Allowed under Bankruptcy Rule 3018 (i.e., no Ballots are
cast in a Class entitled to vote on the Plan) shall be deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for purposes of determining acceptances or rejection of the Plan by such Class pursuant
to section 1129(a)(8) of the Bankruptcy Code.

                                                 ARTICLE V.

                               MEANS FOR IMPLEMENTATION OF THE PLAN

         1.       General Settlement of Claims



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          Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, in consideration for the
classification, distributions, releases and other benefits provided under the Plan, and as a result of arm’s-length
negotiations among the Debtor and its creditors, upon the Effective Date, the provisions of the Plan shall constitute a
good faith compromise and settlement of all Claims and Equity Interests and controversies resolved pursuant to the
Plan.

         2.       Restructuring Transactions

         Prior to, on or after the Effective Date, and pursuant to the Plan, the Debtor and the Reorganized Debtor
shall enter into such restructuring transactions (the “Restructuring Transactions”) and shall take any actions as
may be necessary or appropriate to affect a restructuring of their businesses or the overall organizational structure of
the Reorganized Debtor.

       As its principal Restructuring Transaction, the Debtor or Reorganized Debtor, as appropriate, shall issue the
New Equity Interests to the equity interest holders in exchange for the Equity Contribution.

          The Restructuring Transactions may include one or more sales, mergers, consolidations, restructurings,
conversions, dissolutions, transfers or liquidations as may be determined by the secured claim holder to be necessary
or appropriate to fully effectuate the transfer of the New Equity Interests. The actions to effect the Restructuring
Transactions may include: (a) the execution and delivery of appropriate agreements or other documents of sale,
merger, consolidation, restructuring, conversion, disposition, transfer, dissolution or liquidation containing terms
that are consistent with the terms of the Plan and the Restructuring Transactions and that satisfy the applicable
requirements of applicable state and federal law and any other terms to which the applicable Entities may agree;
(b) the execution and delivery of appropriate instruments of transfer, assignment, assumption or delegation of any
asset, property, right, liability, debt or obligation on terms consistent with the terms of the Plan and the
Restructuring Transactions, and having other terms for which the applicable parties agree; (c) the filing of
appropriate certificates or articles of incorporation, reincorporation, merger, consolidation, conversion or dissolution
pursuant to applicable state or federal law; and (d) all other actions that the applicable Entities determine to be
necessary or appropriate, including making filings or recordings that may be required by applicable state or federal
law in connection with the Restructuring Transactions. In the event a Restructuring Transaction is a merger
transaction, upon the consummation of such Restructuring Transaction, each party to such merger shall cease to
exist as a separate corporate entity and thereafter the surviving Reorganized Debtor shall assume and perform the
obligations of each Reorganized Debtor under this Plan. In the event a Reorganized Debtor is liquidated, the
Reorganized Debtor shall assume and perform such obligations. Implementation of the Restructuring Transactions
shall not affect the distributions under the Plan.

         To the extent that any such Restructuring Transactions result in the assignment of any Executory Contract
or Unexpired Lease assumed under the Plan to a party other than the Debtor which was originally a party to such
Executory Contract or Unexpired Lease (including such Debtor as Reorganized Debtor), the Debtors shall follow the
procedures in Article VI of the Plan for the assignment of such Executory Contracts and Unexpired Leases under
section 365 of the Bankruptcy Code. The chairman of the board of directors, president, chief executive officer, chief
financial officer, any executive vice-president or senior vice-president, member or manager or any other appropriate
officer of each Debtor, as the case may be, shall be authorized to execute, deliver, file, or record such contracts,
instruments, releases, indentures, and other agreements or documents, and take such other actions, as may be
necessary or appropriate, to effectuate and further evidence the terms and conditions of this Plan and the
Restructuring Transactions. The secretary or assistant secretary of the appropriate Debtor and of a Reorganized
Debtor, as the case may be, shall be authorized to certify or attest to any of the foregoing actions.

         Prior to, on or after the Effective Date, and pursuant to the Plan, the Debtor and the Reorganized Debtor, as
applicable, shall take any actions as may be necessary or appropriate to affect a restructuring of their businesses or
the overall organizational structure of the Reorganized Debtor. As of the date hereof, the actions to effect the
Restructuring Transactions may include:




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         •        the execution and delivery of appropriate instruments of transfer, assignment, assumption or
                  delegation of any asset, property, right, liability, debt or obligation on terms consistent with the
                  terms of the Plan and having other terms for which the applicable parties agree;
         •        the filing of appropriate certificates or articles of formation, reformation, merger, consolidation,
                  conversion or dissolution pursuant to applicable state law; and
         •        all other actions that the applicable Entities determine to be necessary or appropriate, including
                  making filings or recordings that may be required by applicable state law in connection with the
                  Restructuring Transactions.

         3.       New Corporate Existence

         The Debtor shall continue to exist after the Effective Date as a separate corporate entity, limited liability
company or series limited liability company, as applicable, with all the powers of a corporation or limited liability
company pursuant to laws of the State of Nevada and pursuant to the certificate of incorporation and bylaws (or
other formation documents) in effect prior to the Effective Date, in such a manner as to preserve the Debtor’s net
operating losses for Federal tax purposes, except to the extent such certificate of incorporation or bylaws (or other
formation documents) are amended by or in connection with the Plan or otherwise and, to the extent such documents
are amended, such documents are deemed to be authorized pursuant hereto and without the need for any other
approvals, authorizations, actions or consents.

         4.       Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided in the Plan, in any agreement, instrument or other document relating thereto,
on or after the Effective Date, all property of the Estate (including, without limitation, Causes of Action) and any
property acquired by the Debtor pursuant to the Plan, shall vest in the Reorganized Debtor, free and clear of all liens,
Claims, charges or other encumbrances. Except as may be provided in the Plan and any sale all or a portion of the
Debtor’s Assets, on and after the Effective Date, the Reorganized Debtor may operate their businesses and may use,
acquire or dispose of property and compromise or settle any Claims without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, other than those
restrictions expressly imposed by the Plan and the Confirmation Order. Without limiting the foregoing, the
Reorganized Debtor shall pay the charges that they incur after the Effective Date for Retained Professionals’ fees,
disbursements, expenses or related support services (including reasonable fees relating to the preparation of
Retained Professional fee applications) without application to the Bankruptcy Court.

         5.       New Equity Interests

         On the Effective Date, the Reorganized Debtor shall issue the New Equity Interests to the Debtor’s current
equity interest holders pursuant to the terms set forth in the Plan. The New Equity Interests shall represent all of the
Equity Interests in the Reorganized Debtor as of the Effective Date. The New Equity Interests to be issued to the
Debtor’s current equity interest holders without registration under the Securities Act or any similar federal, state or
local law in reliance upon the exemptions set forth in section 1145 of the Bankruptcy Code.

         6.       Securities Registration Exemption and Registration Rights Agreement

         The New Equity Interests to be issued pursuant to the Plan will be issued without registration under the
Securities Act or any similar federal, state or local law in reliance upon the exemptions set forth in section 1145 of
the Bankruptcy Code.

         7.       Release of Liens, Claims and Equity Interests

          Except as otherwise provided herein or in any contract, instrument, release or other agreement or document
entered into or delivered in connection with the Plan, on the Effective Date and concurrently with the applicable
distributions made pursuant to Article VII hereof, all liens, Claims, Equity Interests, mortgages, deeds of trust, or
other security interests against the property of the Estate shall be fully released and discharged.



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         8.       Certificate of Incorporation and Bylaws

         The certificates of incorporation and bylaws (or other formation documents relating to limited liability
companies) of the Debtor shall be amended as may be required to be consistent with the provisions of the Plan and
the Bankruptcy Code or as otherwise required by, and in a form reasonably acceptable to the Reorganized Debtor.
On or as soon as reasonably practicable after the Effective Date, the Reorganized Debtor shall file a new certificate
of incorporation or organization with the secretary of state (or equivalent state officer or entity), which, as required
by section 1123(a)(6) of the Bankruptcy Code, shall prohibit the issuance of non-voting securities. After the
Effective Date, the Reorganized Debtor may file a new, or amend and restate its existing, certificate of
incorporation, charter and other constituent documents as permitted by the relevant state corporate law.

         9.       Effectuating Documents; Further Transactions; Exemption from Certain Transfer Taxes

         The Debtor or the Reorganized Debtor, as applicable, may take all actions to execute, deliver, File or record
such contracts, instruments, releases and other agreements or documents and take such actions as may be necessary
or appropriate to effectuate and implement the provisions of the Plan, including, without limitation, the distribution
of the securities to be issued pursuant hereto in the name of and on behalf of the Reorganized Debtor, without the
need for any approvals, authorizations, actions or consents except for those expressly required pursuant hereto. The
secretary and any assistant secretary of the Debtor shall be authorized to certify or attest to any of the foregoing
actions.

         Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant to the Plan that
would otherwise require approval of the shareholders, directors or members of the Debtor shall be deemed to have
been so approved and shall be in effect prior to, on or after the Effective Date (as appropriate) pursuant to applicable
law and without any requirement of further action by the shareholders, directors, managers or partners of the Debtor,
or the need for any approvals, authorizations, actions or consents.

          Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant hereto shall not be
subject to any stamp tax or other similar tax or governmental assessment in the United States, and the Confirmation
Order shall direct the appropriate state or local governmental officials or agents to forgo the collection of any such
tax or governmental assessment and to accept for filing and recordation instruments or other documents pursuant to
such transfers of property without the payment of any such tax or governmental assessment. Such exemption
specifically applies, without limitation, to all documents necessary to evidence and implement the provisions of and
the distributions to be made under the Plan, including the issuance of New Equity Interests.

                                                ARTICLE VI.

                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases

         1.   Assumption of Executory Contracts and Unexpired Leases

        Except as otherwise set forth herein, each Executory Contract or Unexpired Lease shall be deemed
automatically assumed in accordance with the provisions and requirements of sections 365 and 1123 of the
Bankruptcy Code as of the Effective Date, unless any such Executory Contract or Unexpired Lease:

                  (a)      has been previously rejected by the Debtor by Final Order of the Bankruptcy Court;

                  (b)      has been rejected by the Debtor by order of the Bankruptcy Court as of the Effective
                           Date, which order becomes a Final Order after the Effective Date;

                  (c)      is the subject of a motion to reject pending as of the Effective Date;




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                  (d)      is listed on the schedule of “Rejected Executory Contracts and Unexpired Leases” in the
                           Plan Supplement; or

                  (e)      is otherwise rejected pursuant to the terms herein.

         The Confirmation Order shall constitute an order of the Bankruptcy Court approving such assumptions
pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date. The Debtor reserves the right to
amend the schedule of Rejected Executory Contracts and Unexpired Leases at any time before the Effective Date.

         2.   Approval of Assumptions

         The Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions
described in this Article VI pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date. Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the proposed assumption of
such Executory Contract or Unexpired Lease will be deemed to have consented to such assumption. Each
Executory Contract and Unexpired Lease assumed pursuant to this section or by any order of the Bankruptcy Court,
which has not been assigned to a third party prior to the Effective Date, shall revest in and be fully enforceable by
the Reorganized Debtor in accordance with its terms, except as such terms are modified by the provisions of the
Plan or any order of the Bankruptcy Court authorizing and providing for its assumption under applicable federal
law.

         3.   Assignment of Executory Contracts or Unexpired Leases

          In the event of an assignment of an Executory Contract or Unexpired Lease, at least ten (10) days prior to
the Confirmation Hearing, the Debtor shall serve upon counterparties to such Executory Contracts and Unexpired
Leases, a notice of the proposed assumption and assignment, which will: (a) list the applicable cure amount, if any;
(b) identify the party to which the Executory Contract or Unexpired Lease will be assigned; (c) describe the
procedures for filing objections thereto; and (d) explain the process by which related disputes will be resolved by the
Bankruptcy Court, Additionally, the Debtor shall file with the Bankruptcy Court a list of such Executory Contracts
and Unexpired Leases to be assigned and the proposed cure amounts. Any applicable cure amounts shall be
satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the cure amount in Cash on the
Effective Date or on such other terms as the parties to such Executory Contracts or Unexpired Leases may otherwise
agree.

         Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assignment or
any related cure amount must be filed, served and actually received by the Debtor, and its counsel, SLF, at least five
(5) days prior to the Confirmation Hearing. Any counterparty to an Executory Contract and Unexpired Lease that
fails to object timely to the proposed assignment or cure amount will be deemed to have consented to such
assignment of its Executory Contract or Unexpired Lease. The Confirmation Order shall constitute an order of the
Bankruptcy Court approving any proposed assignments of Executory Contracts or Unexpired Leases pursuant to
sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

         In the event of a dispute regarding (a) the amount of any cure payment, (b) the ability of any assignee to
provide “adequate assurance of future performance” (within the meaning of section 365 of the Bankruptcy Code)
under the Executory Contract or Unexpired Lease to be assigned or (c) any other matter pertaining to assignment,
the applicable cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the
entry of a Final Order or orders resolving the dispute and approving the assignment. If an objection to assignment or
cure amount is sustained by the Bankruptcy Court, the Reorganized Debtor in their sole option, may elect to reject
such Executory Contract or Unexpired Lease in lieu of assuming and assigning it.

         4.   Rejection of Executory Contracts or Unexpired Leases

        All Executory Contracts and Unexpired Leases listed on the schedule of “Rejected Executory Contracts and
Unexpired Leases” in the Plan Supplement shall be deemed rejected as of the Effective Date. The Confirmation



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Order shall constitute an order of the Bankruptcy Court approving the rejections described in this Article VI
pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

         5.   Stripping of Liens

         The Plan shall constitute a motion pursuant to section 506 of the Bankruptcy Code, and Bankruptcy Rules
3012 and 9014. Except as expressly provided in Classes 1 through 38, all other secured claims and their related
liens against the Debtor’s properties shall be stripped, including but not limited to junior mortgages, non-
superpriority portions of HOA liens, utility liens and all other liens against the Debtor’s properties. Therefore the
order confirming the Plan will constitute the Court’s finding and determination that the stripping of liens as set forth
herein is: (i) in the best interests of the Debtor, its estate and parties-in-interest, (ii) fair, equitable and reasonable,
(iii) made in good faith, and (iv) approved pursuant to section 506(a) of the Bankruptcy Code and Bankruptcy Rules
3012 and 9014.

B.       Claims on Account of the Rejection of Executory Contracts or Unexpired Leases

          All proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases, pursuant to the Plan or the Confirmation Order, if any, must be filed with the Bankruptcy Court within
thirty (30) days after the date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such rejection.

         Any Entity that is required to file a Proof of Claim arising from the rejection of an Executory Contract or
an Unexpired Lease that fails to timely do so shall be forever barred, estopped and enjoined from asserting such
Claim, and such Claim shall not be enforceable, against any Debtor or any Reorganized Debtor or their Estates and
property, and the Debtor or the Reorganized Debtor and their Estates and property shall be forever discharged from
any and all indebtedness and liability with respect to such Claim unless otherwise ordered by the Bankruptcy Court
or as otherwise provided herein.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

           Any monetary defaults under each Executory Contract and Unexpired Lease to be assumed pursuant to the
Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in
Cash on the Effective Date or on such other terms as the parties to such Executory Contracts or Unexpired Leases
may otherwise agree. At least ten (10) days prior to the Confirmation Hearing, the Debtor shall serve upon
counterparties to such Executory Contracts and Unexpired Leases, a notice of the proposed assumption, which will:
(1) list the applicable cure amount, if any; (2) describe the procedures for filing objections thereto; and (3) explain
the process by which related disputes will be resolved by the Bankruptcy Court; additionally, the Debtor shall file
with the Bankruptcy Court a list of such Executory Contracts and Unexpired Leases to be assumed and the proposed
cure amounts.

          Any objection by a counterparty to an Executory Contract or Unexpired Lease to a proposed assumption or
related cure amount must be filed, served and actually received by the Debtor, and its counsel, SLF, at least
five (5) days prior to the Confirmation Hearing. Any counterparty to an Executory Contract and Unexpired Lease
that fails to object timely to the proposed assumption or cure amount will be deemed to have assented to such
matters. In the event of a dispute regarding (1) the amount of any payments to cure such a default, (2) the ability of
the Reorganized Debtor or any assignee to provide “adequate assurance of future performance” (within the meaning
of section 365 of the Bankruptcy Code) under the contract or lease to be assumed or (3) any other matter pertaining
to assumption, the cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made following the
entry of a Final Order or orders resolving the dispute and approving the assumption. If an objection to Cure is
sustained by the Bankruptcy Court, the Reorganized Debtor in their sole option, may elect to reject such executory
contract or unexpired lease in lieu of assuming it.




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D.       Contracts and Leases Entered Into After the Commencement Date

         Contracts and leases entered into after the Commencement Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by such Debtor, will be performed by the Debtor or Reorganized Debtor
liable thereunder in the ordinary course of its business. Accordingly, such contracts and leases (including any
assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the
Confirmation Order.

                                              ARTICLE VII.

                                PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions for Claims Allowed as of the Effective Date

         Except as otherwise provided in the Plan, a Final Order or as agreed to by the relevant parties, the
Reorganized Debtor shall make initial distributions under the Plan on account of Claims Allowed before the
Effective Date on or as soon as practicable after the Initial Distribution Date; provided, however, that payments on
account of General Unsecured Claims that become Allowed Claims on or before the Effective Date may commence
on the Effective Date.

B.       Distributions on Account of Claims Allowed After the Effective Date

         1.   Payments and Distributions on Disputed Claims

        Except as otherwise provided in the Plan, a Final Order or as agreed to by the relevant parties, distributions
under the Plan on account of a Disputed Claim that becomes an Allowed Claim after the Effective Date shall be
made on the first Periodic Distribution Date after the Disputed Claim becomes an Allowed Claim.

         2.   Special Rules for Distributions to Holders of Disputed Claims

         Notwithstanding any provision otherwise in the Plan and except as otherwise agreed to by the relevant
parties no partial payments and no partial distributions shall be made with respect to a Disputed Claim until all such
disputes in connection with such Disputed Claim have been resolved by settlement or Final Order. In the event that
there are Disputed Claims requiring adjudication and resolution, the Reorganized Debtor shall establish appropriate
reserves for potential payment of such Claims.

C.       Delivery and Distributions and Undeliverable or Unclaimed Distributions

         1.   Record Date for Distributions

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those Holders of Claims listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim is transferred twenty (20) or fewer
days before the Distribution Record Date, the Distribution Agent shall make distributions to the transferee only to
the extent practical and, in any event, only if the relevant transfer form contains an unconditional and explicit
certification and waiver of any objection to the transfer by the transferor.

         2.   Delivery of Distributions in General

          Except as otherwise provided herein, the Debtor or the Reorganized Debtor, as applicable, shall make
distributions to Holders of Allowed Claims at the address for each such Holder as indicated on the Debtor’ records
as of the date of any such distribution; provided, however, that the manner of such distributions shall be determined
at the discretion of the Debtor or the Reorganized Debtor, as applicable; and provided further, that the address for
each Holder of an Allowed Claim shall be deemed to be the address set forth in any Proof of Claim Filed by that
Holder.


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         3.   Distributions by Distribution Agents

          The Debtor and the Reorganized Debtor, as applicable, shall have the authority, in their sole discretion, to
enter into agreements with one or more Distribution Agents to facilitate the distributions required hereunder. As a
condition to serving as a Distribution Agent, a Distribution Agent must (a) affirm its obligation to facilitate the
prompt distribution of any documents, (b) affirm its obligation to facilitate the prompt distribution of any recoveries
or distributions required hereunder and (c) waive any right or ability to setoff, deduct from or assert any lien or
encumbrance against the distributions required hereunder that are to be distributed by such Distribution Agent.

         The Distribution Agents, and their respective agents, employees, officers, directors, professionals,
attorneys, accountants, advisors, representatives and principals (collectively, the “Indemnified Parties”) shall be
indemnified and held harmless by the Debtor and the Reorganized Debtor, to the fullest extent permitted by law for
any losses, claims, damages, liabilities and expenses, including, without limitation, reasonable attorneys’ fees,
disbursements and related expenses which the Indemnified Parties may incur or to which the Indemnified Parties
may become subject in connection with any action, suit, proceeding or investigation brought or threatened against
one or more of the Indemnified Parties on account of the acts or omissions of the Distribution Agents solely in their
capacity as such; provided, however, that the Debtor and the Reorganized Debtor shall not be liable to indemnify
any Indemnified Party for any act or omission constituting gross negligence, fraud or reckless, intentional or willful
misconduct. The foregoing indemnity in respect of any Indemnified Party shall survive the termination of such
Indemnified Party from the capacity for which they are indemnified.

         4.   Minimum Distributions

          Notwithstanding anything herein to the contrary, the Reorganized Debtor shall not be required to make
distributions or payments of less than $10.00 (whether Cash or otherwise) and shall not be required to make partial
distributions or payments of fractions of dollars. Whenever any payment or distribution of a fraction of a dollar or
share of New Equity Interests under the Plan would otherwise be called for, the actual payment or distribution will
reflect a rounding of such fraction to the nearest whole dollar or share of New Membership Interests (up or down),
with half dollars and half shares of New Equity Interests or less being rounded down.

          No Distribution Agent shall have any obligation to make a distribution on account of an Allowed Claim if:
(a) the aggregate amount of all distributions authorized to be made on the Periodic Distribution Date in question is
or has an economic value less than $1,000.00, unless such distribution is a final distribution; or (b) the amount to be
distributed to the specific Holder of an Allowed Claim on such Periodic Distribution Date does not constitute a final
distribution to such Holder and is or has an economic value less than $10.00, which shall be treated as an
undeliverable distribution under Article VII.C.5 below.

         5.   Undeliverable Distributions

                  (a)      Holding of Certain Undeliverable Distributions

         If any distribution to a Holder of an Allowed Claim made in accordance herewith is returned to the
Reorganized Debtor (or its Distribution Agent) as undeliverable, no further distributions shall be made to such
Holder unless and until the Reorganized Debtor (or their Distribution Agent) are notified in writing of such Holder’s
then current address, at which time all currently and due missed distributions shall be made to such Holder on the
next Periodic Distribution Date. Undeliverable distributions shall remain in the possession of the Reorganized
Debtor, subject to Article VII.C.5(b) hereof, until such time as any such distributions become deliverable.
Undeliverable distributions shall not be entitled to any additional interest, dividends or other accruals of any kind on
account of their distribution being undeliverable.

                  (b)      Failure to Claim Undeliverable Distributions

         No later than 210 days after the Effective Date, the Reorganized Debtor shall File with the Bankruptcy
Court a list of the Holders of undeliverable distributions. This list shall be maintained and updated periodically in
the sole discretion of the Reorganized Debtor for as long as the Chapter 11 Case stays open. Any Holder of an


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Allowed Claim, irrespective of when a Claim becomes an Allowed Claim, that does not notify the Reorganized
Debtor of such Holder’s then current address in accordance herewith within the latest of (i) one year after the
Effective Date, (ii) 60 days after the attempted delivery of the undeliverable distribution and (iii) 180 days after the
date such Claim becomes an Allowed Claim shall have its Claim for such undeliverable distribution discharged and
shall be forever barred, estopped and enjoined from asserting any such Claim against the Reorganized Debtor or
their property. In such cases, (i) any Cash held for distribution on account of Allowed Claims shall be redistributed
to Holders of Allowed Claims in the applicable Class on the next Periodic Distribution Date and (ii) any Cash held
for distribution to other creditors shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code
and become property of the Reorganized Debtor, free of any Claims of such Holder with respect thereto. Nothing
contained herein shall require the Reorganized Debtor to attempt to locate any Holder of an Allowed Claim.

                   (c)      Failure to Present Checks

         Checks issued by the Distribution Agent on account of Allowed Claims shall be null and void if not
negotiated within 180 days after the issuance of such check. In an effort to ensure that all Holders of Allowed
Claims receive their allocated distributions, no later than 180 days after the issuance of such checks, the
Reorganized Debtor shall File with the Bankruptcy Court a list of the Holders of any un-negotiated checks. This list
shall be maintained and updated periodically in the sole discretion of the Reorganized Debtor for as long as the
Chapter 11 Case remains open. Requests for reissuance of any check shall be made directly to the Distribution
Agent by the Holder of the relevant Allowed Claim with respect to which such check originally was issued. Any
Holder of an Allowed Claim holding an un-negotiated check that does not request reissuance of such un-negotiated
check within 240 days after the date of mailing or other delivery of such check shall have its Claim for such un-
negotiated check discharged and be discharged and forever barred, estopped and enjoined from asserting any such
Claim against the Reorganized Debtor or its property. In such cases, any Cash held for payment on account of such
Claims shall be property of the Reorganized Debtor, free of any Claims of such Holder with respect thereto.
Nothing contained herein shall require the Reorganized Debtor to attempt to locate any Holder of an Allowed Claim.

D.       Compliance with Tax Requirements/Allocations

          In connection with the Plan, to the extent applicable, the Reorganized Debtor shall comply with all tax
withholding and reporting requirements imposed on them by any governmental unit, and all distributions pursuant
hereto shall be subject to such withholding and reporting requirements. Notwithstanding any provision in the Plan
to the contrary, the Reorganized Debtor and the Distribution Agent shall be authorized to take all actions necessary
or appropriate to comply with such withholding and reporting requirements, including liquidating a portion of the
distribution to be made under the Plan to generate sufficient funds to pay applicable withholding taxes, withholding
distributions pending receipt of information necessary to facilitate such distributions or establishing any other
mechanisms they believe are reasonable and appropriate. The Reorganized Debtor reserves the right to allocate all
distributions made under the Plan in compliance with all applicable liens and encumbrances.

         For tax purposes, distributions in full or partial satisfaction of Allowed Claims shall be allocated first to the
principal amount of Allowed Claims, with any excess allocated to unpaid interest that accrued on such Claims.

E.       Timing and Calculation of Amounts to Be Distributed

          On the Initial Distribution Date (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such a Claim becomes an Allowed Claim, or as soon as reasonably practicable thereafter), each Holder of an
Allowed Claim against the Debtor shall receive the full amount of the distributions that the Plan provides for
Allowed Claims in the applicable Class. Except as otherwise provided herein, Holders of Claims shall not be
entitled to interest, dividends or accruals on the distributions provided for herein, regardless of whether such
distributions are delivered on or at any time after the Effective Date.

F.       Setoffs

          The Debtor and the Reorganized Debtor may withhold (but not setoff except as set forth below) from the
distributions called for hereunder on account of any Allowed Claim an amount equal to any claims, equity interests,


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rights and Causes of Action of any nature that the Debtor or the Reorganized Debtor may hold against the Holder of
any such Allowed Claim. In the event that any such claims, equity interests, rights and Causes of Action of any
nature that the Debtor or the Reorganized Debtor may hold against the Holder of any such Allowed Claim are
adjudicated by Final Order or otherwise resolved, the Debtor may, pursuant to section 553 of the Bankruptcy Code
or applicable non-bankruptcy law, set off against any Allowed Claim and the distributions to be made pursuant
hereto on account of such Allowed Claim (before any distribution is made on account of such Allowed Claim), the
amount of any adjudicated or resolved claims, equity interests, rights and Causes of Action of any nature that the
Debtor or the Reorganized Debtor may hold against the Holder of any such Allowed Claim, but only to the extent of
such adjudicated or resolved amount. Neither the failure to effect such a setoff nor the allowance of any Claim
hereunder shall constitute a waiver or release by the Debtor or the Reorganized Debtor of any such claims, equity
interests, rights and Causes of Action that the Debtor or the Reorganized Debtor may possess against any such
Holder, except as specifically provided herein.

                                              ARTICLE VIII.

     PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED AND DISPUTED CLAIMS

A.       Resolution of Disputed Claims

         1.   Allowance of Claims

          After the Effective Date, the Reorganized Debtor shall have and shall retain any and all rights and defenses
that the Debtor had with respect to any Claim, except with respect to any Claim deemed Allowed under the Plan.
Except as expressly provided in the Plan or in any order entered in the Chapter 11 Case prior to the Effective Date
(including, without limitation, the Confirmation Order), no Claim shall become an Allowed Claim unless and until
such Claim is deemed Allowed under the Plan or the Bankruptcy Code or the Bankruptcy Court has entered a Final
Order, including, without limitation, the Confirmation Order, in the Chapter 11 Case allowing such Claim. All
settled claims approved prior to the Effective Date pursuant to a Final Order of the Bankruptcy Court pursuant to
Bankruptcy Rule 9019 or otherwise shall be binding on all parties.

         2.   Prosecution of Objections to Claims

         After the Confirmation Date the Debtor or the Reorganized Debtor, as applicable, shall have the exclusive
authority to File objections to Claims, settle, compromise, withdraw or litigate to judgment objections to any and all
Claims, regardless of whether such Claims are in a Class or otherwise; provided, however, this provision shall not
apply to Fee Claims. From and after the Effective Date, the Reorganized Debtor may settle or compromise any
Disputed Claim without any further notice to or action, order or approval of the Bankruptcy Court. The
Reorganized Debtor shall have the sole authority to administer and adjust the Claims Register to reflect any such
settlements or compromises without any further notice to or action, order or approval of the Bankruptcy Court.

         3.   Claims Estimation

          After the Confirmation Date the Debtor or the Reorganized Debtor, as applicable, may, at any time, request
that the Bankruptcy Court estimate (a) any Disputed Claim pursuant to applicable law and (b) any contingent or
unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of the Bankruptcy Code,
regardless of whether the Debtor or the Reorganized Debtor has previously objected to such Claim or whether the
Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction under 28
U.S.C. §§ 157 and 1334 to estimate any Disputed Claim, contingent Claim or unliquidated Claim, including during
the litigation concerning any objection to any Claim or during the pendency of any appeal relating to any such
objection. Notwithstanding any provision otherwise in the Plan, a Claim that has been expunged from the Claims
Register but that is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at
zero dollars, unless otherwise ordered by the Bankruptcy Court. All of the aforementioned Claims and objection,
estimation and resolution procedures are cumulative and not exclusive of one another. Claims may be estimated and
subsequently compromised, settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court.



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        4.   Expungement or Adjustment to Claims Without Objection

        Any Claim that has been paid, satisfied or superseded may be expunged on the Claims Register by the
Reorganized Debtor, and any Claim that has been amended may be adjusted thereon by the Reorganized Debtor, in
both cases without a claims objection having to be Filed and without any further notice to or action, order or
approval of the Bankruptcy Court.

        5.   Deadline to File Objections to Claims

        Any objections to Claims shall be Filed no later than the Claims Objection Bar Date.

B.      Disallowance of Claims

          All Claims of any Entity from which property is sought by the Debtor or the Reorganized Debtor under
section 542, 543, 550 or 553 of the Bankruptcy Code or that the Debtor or the Reorganized Debtor allege is a
transferee of a transfer that is avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549 or 724(a) of the
Bankruptcy Code shall be disallowed if (i) the Entity, on the one hand, and the Debtor or the Reorganized Debtor,
on the other hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or transferee is
liable to turnover any property or monies under any of the aforementioned sections of the Bankruptcy Code and
(ii) such Entity or transferee has failed to turnover such property by the date set forth in such agreement or Final
Order.

      EXCEPT AS OTHERWISE AGREED, ANY AND ALL PROOFS OF CLAIM AND PROOFS OF
INTEREST FILED AFTER THE APPLICABLE CLAIMS BAR DATE SHALL BE DEEMED
DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE WITHOUT ANY FURTHER NOTICE
TO OR ACTION, ORDER OR APPROVAL OF THE BANKRUPTCY COURT, AND HOLDERS OF SUCH
CLAIMS AND EQUITY INTERESTS MAY NOT RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF
SUCH CLAIMS AND EQUITY INTERESTS, UNLESS SUCH LATE PROOF OF CLAIM OR EQUITY
INTEREST IS DEEMED TIMELY FILED BY A BANKRUPTCY COURT ORDER ON OR BEFORE THE
LATER OF (1) THE CONFIRMATION HEARING AND (2) 45 DAYS AFTER THE APPLICABLE
CLAIMS BAR DATE.

C.      Amendments to Claims

         On or after the Effective Date, except as otherwise provided herein, a Claim may not be Filed or amended
without the prior authorization of the Bankruptcy Court or the Reorganized Debtor, and, to the extent such prior
authorization is not received, any such new or amended Claim Filed shall be deemed disallowed and expunged
without any further notice to or action, order or approval of the Bankruptcy Court.

                                              ARTICLE IX.

                             CONDITIONS PRECEDENT TO CONFIRMATION
                                AND CONSUMMATION OF THE PLAN

A.      Conditions Precedent to Confirmation

         It shall be a condition to Confirmation hereof that all provisions, terms and conditions hereof are approved
in the Confirmation Order.

B.      Conditions Precedent to Consummation

        It shall be a condition to Consummation of the Plan that the following conditions shall have been satisfied
or waived pursuant to the provisions of Article IX.C hereof.




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       1. The Plan and all Plan Supplement documents, including any amendments, modifications or
supplements thereto, shall be reasonably acceptable to the Debtor.

          2. The Confirmation Order shall have been entered and become a Final Order in a form and in substance
reasonably satisfactory to the Debtor. The Confirmation Order shall provide that, among other things, the Debtor or
the Reorganized Debtor, as appropriate, is authorized and directed to take all actions necessary or appropriate to
consummate the Plan, including, without limitation, entering into, implementing and consummating the contracts,
instruments, releases, leases, indentures and other agreements or documents created in connection with or described
in the Plan.

         3. All actions, documents, certificates and agreements necessary to implement this Plan shall have been
effected or executed and delivered to the required parties and, to the extent required, Filed with the applicable
governmental units in accordance with applicable laws.

C.       Waiver of Conditions

        The conditions to Confirmation of the Plan and to Consummation of the Plan set forth in this Article IX
may be waived by the Debtor without notice, leave or order of the Bankruptcy Court or any formal action other than
proceeding to confirm or consummate the Plan.

D.       Effect of Non Occurrence of Conditions to Consummation

         If the Consummation of the Plan does not occur, the Plan shall be null and void in all respects and nothing
contained in the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims
against or Equity Interests in the Debtor; (2) prejudice in any manner the rights of the Debtor, any Holders or any
other Entity; or (3) constitute an admission, acknowledgment, offer or undertaking by the Debtor, any Holders or
any other Entity in any respect.

                                                ARTICLE X.

                          SETTLEMENT, RELEASE AND RELATED PROVISIONS

A.       Compromise and Settlement

          Notwithstanding anything contained herein to the contrary, the allowance, classification and treatment of
all Allowed Claims and their respective distributions and treatments hereunder, takes into account the relative
priority and rights of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
equitable subordination rights relating thereto whether arising under general principles of equitable subordination,
section 510(b) and (c) of the Bankruptcy Code or otherwise. As of the Effective Date, any and all contractual, legal
and equitable subordination rights, whether arising under general principles of equitable subordination, section
510(b) and (c) of the Bankruptcy Code or otherwise, relating to the allowance, classification and treatment of all
Allowed Claims and their respective distributions and treatments hereunder are settled, compromised, terminated
and released pursuant hereto.

          The Confirmation Order will constitute the Bankruptcy Court’s finding and determination that the
settlements reflected in the Plan are (1) in the best interests of the Debtor, its estate and all Holders of Claims and
Equity Interests, (2) fair, equitable and reasonable, (3) made in good faith and (4) approved by the Bankruptcy Court
pursuant to section 363 of the Bankruptcy Code and Bankruptcy Rule 9019. The Confirmation Order shall approve
the releases by all Entities of all such contractual, legal and equitable subordination rights or Causes of Action that
are satisfied, compromised and settled pursuant hereto.

        In accordance with the provisions of this Plan, including Article VIII hereof, and pursuant to section 363 of
the Bankruptcy Code and Bankruptcy Rule 9019, without any further notice to or action, order or approval of the
Bankruptcy Court, after the Effective Date (1) the Reorganized Debtor may, in its sole and absolute discretion,
compromise and settle Claims against them, (2) the Reorganized Debtor may, in its sole and absolute discretion,


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compromise and settle Causes of Action against other Entities, and (3) the Reorganized Debtor may, in its sole and
absolute discretion, sell its properties.

B.       Preservation of Rights of Action

         1.   Maintenance of Causes of Action

         Except as otherwise provided in the Plan or Confirmation Order, after the Effective Date, the Reorganized
Debtor shall retain all rights to commence, pursue, litigate or settle, as appropriate, any and all Causes of Action,
whether existing as of the Commencement Date or thereafter arising, in any court or other tribunal including,
without limitation, in an adversary proceeding Filed in the Chapter 11 Case.

         2.   Preservation of All Causes of Action Not Expressly Settled or Released

          Unless a claim or Cause of Action against a Holder of a Claim or an Equity Interest or other Entity is
expressly waived, relinquished, released, compromised or settled in the Plan or any Final Order (including, without
limitation, the Confirmation Order), the Debtor expressly reserves such claim or Cause of Action for later
adjudication by the Debtor or the Reorganized Debtor (including, without limitation, claims and Causes of Action
not specifically identified or of which the Debtor may presently be unaware or which may arise or exist by reason of
additional facts or circumstances unknown to the Debtor at this time or facts or circumstances that may change or be
different from those the Debtor now believe to exist) and, therefore, no preclusion doctrine, including, without
limitation, the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, waiver, estoppel
(judicial, equitable or otherwise) or laches shall apply to such claims or Causes of Action upon or after the
Confirmation or Consummation of the Plan based on the Disclosure Statement, the Plan or the Confirmation Order,
or any other Final Order (including, without limitation, the Confirmation Order). In addition, the Debtor and the
Reorganized Debtor expressly reserve the right to pursue or adopt any claims alleged in any lawsuit in which the
Debtor is a plaintiff, defendant or an interested party, against any Entity, including, without limitation, the plaintiffs
or co-defendants in such lawsuits.

                                                ARTICLE XI.

                                            BINDING NATURE OF PLAN

      THIS PLAN SHALL BIND ALL HOLDERS OF CLAIMS AGAINST AND EQUITY INTERESTS AND
INTERCOMPANY INTERESTS IN THE DEBTORS TO THE MAXIMUM EXTENT PERMITTED BY
APPLICABLE LAW, NOTWITHSTANDING WHETHER OR NOT SUCH HOLDER (I) WILL RECEIVE OR
RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER THE PLAN, (II) HAS FILED A PROOF OF
CLAIM OR INTEREST IN THE CHAPTER 11 CASES OR (III) FAILED TO VOTE TO ACCEPT OR REJECT
THE PLAN OR VOTED TO REJECT THE PLAN.

                                                ARTICLE XII.

                                         RETENTION OF JURISDICTION

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, the
Bankruptcy Court shall, after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities
with respect to all matters related to the Chapter 11 Case, the Debtor and the Plan as legally permissible, including,
without limitation, jurisdiction to:

          1. allow, disallow, determine, liquidate, classify, estimate or establish the priority or secured or unsecured
status of any Claim, including, without limitation, the resolution of any request for payment of any Administrative
Claim and the resolution of any and all objections to the allowance or priority of any Claim;

         2. grant or deny any applications for allowance of compensation or reimbursement of expenses
authorized pursuant to the Bankruptcy Code or the Plan, for periods ending on or before the Confirmation Date;


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         3. resolve any matters related to the assumption, assignment or rejection of any Executory Contract or
Unexpired Lease to which a Debtor is party or with respect to which a Debtor or Reorganized Debtor may be liable
and to adjudicate and, if necessary, liquidate, any Claims arising therefrom, including, without limitation, those
matters related to any amendment to the Plan after the Effective Date to add Executory Contracts or Unexpired
Leases to the list of Executory Contracts and Unexpired Leases to be assumed;

            4.   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

            5.   ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the provisions of
the Plan;

         6. decide or resolve any motions, adversary proceedings, contested or litigated matters and any other
Causes of Action that are pending as of the Effective Date or that may be commenced in the future, and grant or
deny any applications involving a Debtor that may be pending on the Effective Date or instituted by the Reorganized
Debtor after the Effective Date, provided that the Reorganized Debtor shall reserve the right to commence actions in
all appropriate forums and jurisdictions;

         7. enter such orders as may be necessary or appropriate to implement or consummate the provisions of
the Plan and all other contracts, instruments, releases, indentures and other agreements or documents adopted in
connection with the Plan, the Plan Supplement or the Disclosure Statement;

         8. resolve any cases, controversies, suits or disputes that may arise in connection with the Consummation,
interpretation or enforcement of the Plan or any Entity’s obligations incurred in connection with the Plan;

      9. hear and determine all Causes of Action that are pending as of the Effective Date or that may be
commenced in the future;

         10. issue injunctions and enforce them, enter and implement other orders or take such other actions as may
be necessary or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan,
except as otherwise provided in the Plan;

            11. enforce Article X.A and Article X.B hereof;

       12. enter and implement such orders or take such others actions as may be necessary or appropriate if the
Confirmation Order is modified, stayed, reversed, revoked or vacated;

         13. resolve any other matters that may arise in connection with or relate to the Plan, the Disclosure
Statement, the Confirmation Order or any contract, instrument, release, indenture or other agreement or document
adopted in connection with the Plan or the Disclosure Statement;

            14. enter an order concluding the Chapter 11 Case; and

            15. awarding attorneys’ fees in accordance with Art. XIII, Section M of the Plan.

                                                 ARTICLE XIII.

                                           MISCELLANEOUS PROVISIONS

A.          Payment of Statutory Fees

         All fees payable pursuant to section 1930 of title 28 of the United States Code after the Effective Date shall
be paid prior to the closing of the Chapter 11 Case when due or as soon thereafter as practicable.




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B.       Modification of Plan

          Effective as of the date hereof and subject to the limitations and rights contained in the Plan: (a) the Debtor
reserves the right, in accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend or modify the Plan
prior to the entry of the Confirmation Order; and (b) after the entry of the Confirmation Order, the Debtor or the
Reorganized Debtor, as applicable, may, upon order of the Bankruptcy Court, amend or modify the Plan, in
accordance with section 1127(b) of the Bankruptcy Code or remedy any defect or omission or reconcile any
inconsistency in the Plan in such manner as may be necessary to carry out the purpose and intent of the Plan.

C.       Revocation of Plan

         The Debtor reserves the right to revoke or withdraw the Plan prior to the Confirmation Date and to File
subsequent chapter 11 plans. If the Debtor revokes or withdraw the Plan, or if Confirmation or Consummation does
not occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise embodied in the
Plan, assumption or rejection of Executory Contracts or Unexpired Leases effected by the Plan and any document or
agreement executed pursuant hereto shall be deemed null and void except as may be set forth in a separate order
entered by the Bankruptcy Court; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of
any Claims by or against, or any Equity Interests in, such Debtor or any other Entity; (b) prejudice in any manner the
rights of the Debtor or any other Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of
any sort by the Debtor or any other Entity.

D.       Successors and Assigns

          The rights, benefits and obligations of any Entity named or referred to herein shall be binding on, and shall
inure to the benefit of, any heir, executor, administrator, successor or assign of such Entity.

E.       Reservation of Rights

         Except as expressly set forth herein, the Plan shall have no force or effect unless and until the Bankruptcy
Court enters the Confirmation Order. Neither the filing of the Plan, any statement or provision contained herein, nor
the taking of any action by a Debtor or any other Entity with respect to the Plan shall be or shall be deemed to be an
admission or waiver of any rights of: (1) any Debtor with respect to the Holders of Claims or Equity Interests or
other Entity; or (2) any Holder of a Claim or an Equity Interest or other Entity prior to the Effective Date.

F.       Section 1146 Exemption

          Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant hereto shall not be
subject to any stamp tax or other similar tax or governmental assessment in the United States, and the Confirmation
Order shall direct the appropriate state or local governmental officials or agents to forego the collection of any such
tax or governmental assessment and to accept for filing and recordation instruments or other documents pursuant to
such transfers of property without the payment of any such tax or governmental assessment. Such exemption
specifically applies, without limitation, to all documents necessary to evidence and implement the provisions of and
the distributions to be made under the Plan.

G.       Further Assurances

         The Debtor or the Reorganized Debtor, as applicable, all Holders of Claims receiving distributions
hereunder and all other Entities shall, from time to time, prepare, execute and deliver any agreements or documents
and take any other actions as may be necessary or advisable to effectuate the provisions and intent of the Plan or the
Confirmation Order.

H.       Severability

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to


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make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void or unenforceable, and such term or provision then will be applicable as altered or
interpreted, provided that the Debtor, the Reorganized Debtor or any affected Entity (as applicable) may seek an
expedited hearing before the Bankruptcy Court to address any objection to any such alteration or interpretation of
the foregoing. Notwithstanding any such order by the Bankruptcy Court, alteration or interpretation, the remainder
of the terms and provisions of the Plan shall remain in full force and effect. The Confirmation Order shall constitute
a judicial determination and shall provide that each term and provision of the Plan, as it may have been altered or
interpreted in accordance with the foregoing, is valid and enforceable pursuant to its terms.

I.       Service of Documents

          Any pleading, notice or other document required by the Plan to be served on or delivered to the Debtor
shall be sent by overnight mail to:

                                       Wishing Well Property Investments, LLC, Series 1
                                       Attn: Danielle Roth
                                       7566 Spanish Bay Drive
                                       Las Vegas, Nevada 89113

                                       with copies to:

                                       Schwartz Flansburg PLLC
                                       6623 Las Vegas Blvd. South
                                       Suite 300
                                       Las Vegas, Nevada 89119


J.       Return of Security Deposits

          Unless the Debtor have agreed otherwise in a written agreement or stipulation approved by the Bankruptcy
Court, all security deposits provided by the Debtor to any Person or Entity at any time after the Commencement
Date shall be returned to the Reorganized Debtor within twenty (20) days after the Effective Date, without deduction
or offset of any kind.

K.       Filing of Additional Documents

       On or before the Effective Date, the Debtor may File with the Bankruptcy Court all agreements and other
documents that may be necessary or appropriate to effectuate and further evidence the terms and conditions hereof.

L.       Default

          Upon the Effective Date of the Plan, in the event the Debtor fails to timely perform any of the obligations
set forth in the Plan, the applicable creditor or party-in-interest shall notify the Debtor and Debtor’s counsel of the
default in writing in accordance with the notice provisions herein, after which the Debtor shall have: (i) thirty (30)
calendar days from the date of the written notification to cure the default; or (ii) if the cure requires more than thirty
(30) days, so long as the Debtor initiates steps to cure the default within thirty (30) days and thereafter continues and
completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical. If the
Debtor fails to timely cure the default as provided above, the applicable creditor shall be free to pursue any and all
rights it may have under the contract(s) between the parties and/or applicable state law, without further court order
or proceeding being necessary.




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M.       Attorneys’ Fees

          In the event any party is required to enforce the terms of the Plan or any other act required or contemplated
by the Plan, the prevailing party in any motion or action to enforce shall be entitled recover reasonable attorneys’
fees, as well as court costs and expenses, incurred in connection with such motion or legal action.

Dated: September 15, 2015April 6, 2016
                                                      Respectfully submitted,

                                                      Wishing Well Property Investments, LLC, Series 1
                                                      By: /s/ Danielle Roth
                                                          Danielle Roth,
                                                          Its Manager




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